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       Expert Report
              of
  Col. (Ret.) Joel Rayburn

PAUTSCH, et al. v. ISLAMIC REPUBLIC OF IRAN, et al.
               Case No. 20-cv-03859 (JEB)
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       I, Colonel (Ret.) Joel Rayburn submit this expert report in the matter of Pautsch, et al. v.

Islamic Republic of Iran, et al.

I.     SCOPE OF REPORT AND QUALIFICATIONS

       A.      Professional Background

       My curriculum vitae is attached to this report as Exhibit A. As it reflects, I served as a U.S.

Army strategic intelligence officer in Iraq in 2006, 2007, and 2008. In this capacity, I was assigned

to Multinational Force-Iraq (MNF-I) and was present in Iraq during the periods of January-

February 2006, March-May 2007, June 2007, and September 2007-September 2008, save for mid-

tour leave.

       After redeploying to the United States in September 2008, I continued to focus on Iraq,

Iran, and Syria when I served as a strategic intelligence officer at U.S. Central Command in Tampa,

Florida. In that capacity I deployed briefly to Iraq in the fall of 2009. I deployed again to Iraq in

September-October 2015 to lead a campaign assessment team assembled by Lieutenant General

Sean MacFarland, who was then the commander of Combined Joint Task Force (CJTF)-Operation

Inherent Resolve. I also served from 2013 to 2016 as the director of the U.S. Army’s Operation

Iraqi Freedom Study Group, which was responsible for conducting an assessment of the Army’s

involvement in Iraq from 2003 to 2011.

       From January 2017 to July 2018, I served on the National Security Council’s staff as the

Senior Director for Iran, Iraq, Syria, and Lebanon. In that capacity, I oversaw the implementation

of the U.S. government’s policy on those four countries.

       From July 2018 to January 2021, I served in the State Department as a Deputy Assistant

Secretary of State for Near Eastern Affairs. In that capacity I was responsible for Levant Affairs

and also served as the U.S. Special Envoy for Syria, both of which roles required me to follow
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Iraq, Syria, and Iran-related affairs, frequently engage Iraqi and Syrian counterparts, and

periodically travel to Iraq and Syria for diplomatic activities.

       Throughout my professional U.S. government assignments relating to the Middle East

from 2005 to 2021, my duties included monitoring, and sometimes formulating strategies and plans

to counter, terrorist activities by Al Qaeda, Al Qaeda in Iraq, and other Sunni terrorist groups in

Iraq (STGIs). While serving as a military officer in Iraq at various times between 2006 and 2015,

I was directly aware of, and sometimes tasked to formulate strategies and plans to counter, Iranian

and Syrian government material support to these Sunni terrorist groups. As a White House official

and State Department diplomat responsible for Iran, Iraq, Syria, and Lebanon from 2017 to 2021,

I was also directly aware of these governments’ material support to the Sunni terrorist groups

mentioned above or to their successor organizations such as the Islamic State of Iraq and Syria

(ISIS), and frequently engaged with diplomatic counterparts in Iraq, Turkey, and Jordan on this

issue. As the U.S. Special Envoy for Syria from 2018 to 2021, I also engaged with numerous

former Syrian regime officials who attested to the Syrian government’s material support to these

Sunni terrorist groups. In addition to the research and sources that I cite in this report, my

conclusions in the report are informed by the direct knowledge I gained as part of my professional,

military and diplomatic experience.

       B.      Scope of Work Requested by Plaintiffs’ Counsel

       I have been asked by Plaintiffs’ counsel to provide an expert opinion about what entity was

responsible for a series of terrorist attacks against Americans in Iraq between 2004 and 2009.

       C.      Terms of Engagement and Compensation

       I have been retained as a testifying expert pursuant to Rule 26 of the Federal Rules of Civil

Procedure and have prepared this expert report in that capacity. I am being compensated $350.00




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per hour by Plaintiffs’ counsel in this matter. I have no prior or current professional or personal

connection with any of the parties in this case precluding my ability to provide impartial evidence

herein.

          D.      Prior Publications and Testimony

          I have not previously testified in court. The following is a select list of my prior

publications:

              The U.S. Army in the Iraq War (2 vols). Carlisle, PA: U.S. Army War College
               Press, 2019.
              Iraq After America: Strongmen, Sectarians, Resistance. Stanford: Hoover
               Institution Press, 2014.
              “The Coming Disintegration of Iraq.” Washington Post, 15 August 2014.
              “Iraq’s Civil War is Breaking Out Again.” The New Republic, 8 May 2013.
              “The Coming War in the Middle East.” Defining Ideas, 6 February 2013.
              “Iraq: The Rise of the Maliki Regime.” Journal of International Security
               Affairs, Spring/Summer 2012.
              “Iraq After America.” Defining Ideas, 25 January 2012.
              “Blowback: Iraq Comes to Syria.” The Caravan, February 2012.
              “The Last Exit from Iraq: How the British Quit Mesopotamia.” Foreign Affairs,
               March/April 2006.

          E.      Methodology For Assessing Terrorist Attacks on U.S. Forces in Iraq from
                  2003-2011

          Attacks perpetrated by various terrorist groups in Iraq during the major deployment of U.S.

forces between 2003 and 2011 can be assessed by various methods, including:

                  1.     Reliable claims of responsibility;

                  2.     Investigative findings by government agencies;

                  3.     The area of the attack;

                  4.     The date of the attack; and

                  5.     The tactics, techniques, and procedures (TTP) of the attack.

Of course, not all of these variables are present in the available evidence for every attack. Instead,

evidence relating to each variable, to the extent present, must be reviewed and cross-referenced to


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determine where evidence confirms or contradicts other evidence. Each of these methods is

described below.

        Claims of responsibility. Terrorist groups sometimes made claims of responsibility

following an attack to gain prestige and influence. Those claims have a reasonable degree of

accuracy, as a group would face humiliation and a loss of credibility if the false attempt were to

be exposed. AQI’s claims of responsibility have particular veracity, as it typically releases an

accompanying video of the attack for which it claims responsibility, which it did after the March

9, 2005, attack in this case. Additionally, AQI has denied responsibility for other attacks, lending

further credibility to its assertions of responsibility.

        Investigative findings. U.S. forces were naturally determined to find out who was

responsible for attacks and reported their conclusions in investigative findings. In some instances,

court records are available, such as for the April 10, 2009, attack in which Jason Pautsch was

killed. AQI members involved in the attack were identified and one collaborator was convicted in

U.S. court for his role in the attack.

        Location. After the fall of the Iraqi regime of Saddam Hussein in 2003, certain terrorist

groups were able to control territory in various parts of Iraq, or at least were able to dominate those

areas to the extent that they were able to largely exclude other terrorist groups from operating in

those areas with significant effect. This was particularly true when it came to carrying out

substantial attacks on Coalition forces (as opposed to attacking other terrorist groups or their co-

sectarians). Thus, for example, Shi’a terrorist groups controlled certain Shi’a-majority areas and,

at least at certain times, were by far the most likely perpetrators of major attacks on U.S. forces in

those areas. The same is true for AQI and its affiliates in certain Sunni-dominated areas. Iraq’s

sectarian and ethnic demographics are such that areas with Sunni, Shi’a, and Kurdish majorities




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are relatively clearly defined. The western and northern provinces of Anbar and Ninewa are

overwhelmingly Sunni, though the latter has distinct Shi’a and Kurdish minority areas, while the

northern province of Salahadin is majority Sunni with distinct Shi’a minority areas. The northern

province of Diyala has a Sunni plurality with distinct Shi’a and Kurdish minority areas. The

northern provinces of Dahuk, Erbil, and Sulaymaniyah are overwhelmingly Kurdish, while Kirkuk

province has a Kurdish majority with distinct Sunni and Shi’a Arab minority areas. The nine

southern provinces are overwhelmingly Shi’a in population, with distinct Sunni minority areas.

Finally, Baghdad has a mixed-sect population that is majority Shi’a, but the city’s Sunni minority

is located in mostly distinct Sunni-majority neighborhoods or outlying towns.

       Separately, some other areas may have been prime attack targets for AQI as the terrorist

group sought to respond to Coalition actions against AQI operations in that area.

       Date. The date of an attack can help us assign responsibility to a particular terrorist group

because we can examine what group controlled or dominated specific areas over time. For

example, as explained above, in 2006 many Sunni militias—but not AQI—joined the Awakening

movement. By the summer of 2007, as many other Sunni terrorist groups ceased their attacks

against Coalition troops, AQI was responsible for a higher percentage of Sunni terrorist attacks

that took place in Iraq than had been the case during the 2003-2006 period.

       Dates also enable us to assess whether an attack could have been intended by AQI or an

associated STGI as retribution for Coalition actions in a particular area, as described above.

       TTP. The TTP of attack is a factor for attributing an attack. Some terrorist groups in Iraq

had access to certain “signature weapons,” such as the sophisticated copper-lined, high-explosives-

powered explosively formed penetrators (EFPs) Iran’s Islamic Revolutionary Guard Corps (IRGC,

designated a Foreign Terrorist Organization (FTO) by the U.S. on April 15, 2019) supplied to its




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Shi’a proxy militias. An attack involving an EFP almost always indicated that an Iranian- and

Hezbollah-supported Shi’a militia group was responsible, as AQI and STGIs did not have access

to high-end Iranian-manufactured EFPs. AQI and STGIs did, however, have access to other

powerful improvised explosive devices (IEDs) which required substantial resources and training

to build and implement. The attacks at issue in the Pautsch case involved weapons typically

employed by AQI and its affiliates, including rocket-propelled grenades (RPGs), buried IEDs

designed to explode upwards into passing vehicles, and vehicles packed with explosives driven by

suicide bombers. These attacks were sometimes combined with small arms fire (for example,

against a halted convoy or against the perimeter security forces of a Coalition or Iraqi base) in

what is known as a “complex attack.” The IEDs that AQI and STGIs employed were less effective

in penetrating U.S. armored vehicles than EFPs were, but AQI and STGIs made up for that

deficiency through sheer size of explosives: The attack in which Jason Pautsch was killed, for

example, involved a dump truck containing as much as 10,000 lbs. of explosive material.

       Attribution Using These Variables. By considering these variables together, it is possible

to attribute an attack to AQI or one of its affiliates. Claims of responsibility and U.S. investigative

findings yield the most straightforward attributions, but attribution can be confidently made

without them as well. An attack can be attributed to AQI or its affiliates in instances in which (1)

the attack occurred in an area that AQI either controlled or was able to operate in to a significant

degree; (2) the attack occurred at a time when AQI had control in the area, or occurred in a Sunni

area after the spread of the Awakening; and (3) involved TTP typically used by AQI and its

affiliates, such as RPGs, large IEDs, and complex attacks.




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II.    OPINION AND DOCUMENTS REVIEWED

       A.      Summary of Opinion

       1.      The Iranian government knowingly and as a matter of state policy provided material

support to Al Qaeda, Al Qaeda in Iraq (AQI), and other Sunni terrorist groups in Iraq (STGIs) to

carry out attacks against U.S. troops and civilians during the U.S.-led Coalition military campaign

in Iraq from 2003 to 2011. The Iranian government’s material support to STGIs, and to AQI in

particular, spanned the entirety of the Iraq campaign and continues to the present day.

       The Iranian regime of Supreme Leader Ali Khamenei has materially supported Al Qaeda

and other Sunni terrorist groups for more than 30 years because the regime’s decisionmakers

consider these groups valuable allies, and often proxies, that are useful to the regime’s hostile

foreign policy toward the United States and its allies. From 2001 onward, the Iranian regime

sheltered many of these groups on Iranian territory and shielded them from pressure by the United

States and other powers. The Iranian regime’s material support to Al Qaeda and other Sunni

terrorist groups expanded significantly after the fall of the Saddam Hussein regime in 2003, when

Khamenei and other senior Iranian leaders considered it imperative to prevent the United States

and its allies from establishing a stable, pro-U.S. state in Iraq. Thus, the Iranian government

encouraged and enabled Al Qaeda, AQI, and other Sunni terrorists to carry out attacks against U.S.

and allied forces in Iraq. The Iranian regime’s strong interest in enabling Sunni terrorists to attack

U.S. interests superseded any sectarian differences between the Shi’a Iranian regime and these

Sunni terrorist groups.

       Within the Iranian government, Khamenei and other regime leaders have delegated to the

Islamic Revolutionary Guards Corps-Qods Force (IRGC-QF, the external arm of Iran’s armed

forces charged with defending its revolutionary regime, designated an FTO along with the IRGC

as well as a Specially Designated Global Terrorist (SDGT)), the Ministry of Intelligence and


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Security (MOIS, designated a SDGT on February 16, 2012), and the Iranian proxy group Lebanese

Hezbollah, designated as a Specially Designated Terrorist in 1995, an FTO in 1997, and an SDGT

in 2001) the principal responsibilities of carrying out the Iranian policy of providing material

support to Al Qaeda and other Sunni terrorist groups. These institutions continue their support and

sponsorship of Sunni terrorist groups today. Most notably, as of 2022, the Iranian government had

enabled Al Qaeda to make Iran its main operating base from which it directs the activities of its

worldwide terrorist network.

        2.     The Syrian government knowingly and as a matter of state policy provided material

support to Al Qaeda, AQI, and other STGIs to carry out attacks against U.S. troops and civilians

during the U.S.-led Coalition military campaign in Iraq from 2003 to 2011. The Syrian

government’s material support to these terrorist groups spanned the entire duration of the Iraq

campaign and in many cases has continued into the period of the Syrian civil war that began in

2011.

        Syrian dictator Bashar al-Assad and his regime adopted a policy of enabling AQI and other

STGIs to conduct terrorist attacks in Iraq to cause the failure of the U.S.-led military campaign in

Iraq and to gain regional political leverage in the post-Saddam Iraq. To implement this policy,

Assad instructed his regime’s intelligence agencies, military, and other Syrian government entities

to help recruit, fund, arm, train, transport, and direct STGIs. Under Assad’s authority and with his

knowledge, Syrian government officials and agencies assisted AQI and other STGIs in setting up

terrorist facilitation networks in Syria through which tens of thousands of militants from Syria and

other countries were able to cross into Iraq to conduct terrorist and insurgent operations.

        In executing this policy, the Syrian government was also able to use its well-established

material support infrastructure as well as its longstanding methods of infiltrating, monitoring, and




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controlling extremist groups inside Syria. Sectarian differences between the Alawite-dominated

Assad regime and these Sunni terrorist groups were not an obstacle to the regime’s strategy of co-

opting these groups to act in accordance with Assad’s policy objectives.

        3.      It is my professional opinion that it is highly likely that all of the eight attacks listed

in the amended complaint of Pautsch, et al. v. the Islamic Republic of Iran and the Syrian Arab

Republic were carried out by AQI or other STGIs that were associated with or under the dominant

influence of AQI and that enjoyed material support from the Iranian and Syrian governments.

        4.      Finally, it is my professional opinion that the material support the governments of

Iran and Syria provided to AQI and its associated STGIs was essential to these groups’ terrorist

operations, including their ability to conduct attacks in Iraq. AQI and its associated STGIs could

not have operated effectively in Iraq without the logistical support, territorial safe haven, personnel

recruitment, weapons, explosives, training, and other categories of support that the Iranian and

Syrian governments provided. Without this indispensable Iranian and Syrian material support, it

is highly unlikely AQI and its associated STGIs would have been able to conduct terrorist attacks

on a sustainable basis in Iraq, including the attacks against U.S. forces and civilians listed in section

V of this report.

        B.      Documents Reviewed

        In addition to the documents cited in the footnotes to this report, I also reviewed the

following documents:

                1. THOMAS VRIENS ATTACK, FALLUJAH, IRAQ, 24 SEPTEMBER
                   2004

                    Multinational Force-West Ops Report, 24 September 2004, in
                    CENTCOM FOIA Release 21-099, pp. 044-047.

                    C3 Ops Report, 2130 hrs 24 September 2004, in CENTCOM FOIA
                    Release 21-099, pp. 048-049.



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        Thomas H. Vriens Casualty Status Report, 27 September 2004.

     2. BRIAN NEUMAN ATTACK, FALLUJAH, IRAQ, 11 NOVEMBER 2004

        Combined Information Data Network Exchange (CIDNE) Improvised
        Explosive Device (IED) Report Number IED-MEF-LNO-58728775, 11
        November 2004.

        CIDNE Significant Activity (SIGACT) Report Number MEF-LNO-
        58728775, 11 November 2004.

        Marine Expeditionary Force (MEF) LNO Ops Report # 58728775, 11
        November 2004, in CENTCOM FOIA Release 21-099, pp. 092-095.

     3. WALLACE BYARS, DENNIS O’MALLEY, AND RICHARD VESSELL
        ATTACK, BAGHDAD, IRAQ, 9 MARCH 2005

        SIGACT Report Number 61755354, 9 March 2005, in USCENTCOM
        FOIA Release 17-0364L, 19 February 2020, pp. 0778-0779.

        Combined Explosives Exploitation Cell (CEXC) Report Number
        CEXC/IRAQ/B/0416-05/OL, 9 March 2005, in USCENTCOM FOIA
        Release 17-0364L, 19 February 2020, pp. 0780-0785.

        Intelligence Information Report (IIR), 19 March 2005, in
        USCENTCOM FOIA Release 17-0364L, 19 February 2020, pp. 0786-
        0788.

     4. WALLACE BYARS AND DENNIS O’MALLEY ATTACK, BAGHDAD,
        IRAQ, 25 JULY 2005

        CIDNE IED Report IED-2005-206-075720-0416, 25 July 2005, in
        USCENTCOM FOIA Release 17-0364L, 19 February 2020, pp. 0789-
        0790.

        CIDNE SIGACT Report 2005-206-075720-416, 25 July 2005,
        USCENTCOM FOIA Release 17-0364L, 19 February 2020, pp. 0791-
        0792.

     5. JASON GOLDSMITH ATTACK, KHUTAYLAH, IRAQ, 9 MAY 2005

        CIDNE SIGACT Report MEF-LNO-1938, 10 May 2005, in
        USCENTCOM FOIA Release 17-0364L, 19 February 2020, pp. 0714-
        0715.

        Jason M. Goldsmith Casualty Status Report, Case Number 333544, 10
        May 2005.



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     6. CHARLES SHAFFER ATTACK, MOSUL, IRAQ, 1 SEPTEMBER 2008

        CIDNE IED Report 20080901095538SLF3720524323, 1 September
        2008, in USCENTCOM FOIA Release 17-0150L, pp. 0438-0441.

        722d EOD Spot Report, Incident Number 010955CSEP08TM3-1, 1
        September 2008, in USCENTCOM FOIA Release 17-0150L, pp. 0442-
        0445.

        CIDNE SIGACT Report 20080901110038SLF37222431, 1 September
        2008, in in USCENTCOM FOIA Release 17-0150L, pp. 0446-0452.

        C3 Ops Report, 2 September 2008, in USCENTCOM FOIA Release 17-
        0150L, p. 0453.

        Charles Shaffer Casualty Report, 1 September 2008, in USCENTCOM
        FOIA Release 17-0150L, pp. 0671-0705.

     7. JAMES DAVIS ATTACK, TAJI, IRAQ, 13 AUGUST 2007

        CIDNE       SIGACT        Report      IED   Report    IED-
        20070813234038SMC3173840997, 13 August 2007, in USCENTCOM
        FOIA Release 17-0364L, pp. 0705-0706.

        CIDNE SIGACT Report 20070813234038SMC3173840997, 13
        August 2007, in USCENTCOM FOIA Release 17-0364L, pp. 0707-
        0708.

        213th Area Support Group Serious Incident Report Number 106-038,
        16 August 2007, in USCENTCOM FOIA Release 17-0364L, pp. 0709-
        0713.

     8. JASON PAUTSCH ATTACK, MOSUL, IRAQ, 10 APRIL 2009

        3rd HBCT, 1st Cavalry Division, AR 15-6 Investigation into the Hostile
        Fire Incident Resulting in the Deaths of Five US Soldiers Involving 1st
        Combined Arms Battalion, 67th Armor Regiment on 10 April 2009,
        dated 9 May 2009, in United States Army Central FOIA Release FA-
        17-0173, 7 September 2018.

        Casualty Report 100-009-09 concerning Jason G. Pautsch, A Company,
        1-67 AR, 10 April 2009.

        Multinational Division-North Ops Reports, 10 April 2009, in
        CENTCOM FOIA Release 21-099, pp. 001-008.




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        C.      General Background on Al Qaeda in Iraq (AQI) and Sunni terrorist groups in
                Iraq (STGI)

        This report frequently references Al Qaeda in Iraq, Al Qaeda’s Iraq-based affiliate which

publicly announced itself in October 2004 and which senior Al Qaeda leaders publicly

acknowledged as an affiliate branch at the same time. This section describes AQI’s composition

and describes other Sunni terrorist groups in Iraq (STGIs) that were either subordinate to, affiliated

with, or dominated by AQI over time.

        At the time of its public unveiling in October 2004, AQI’s core component was Abu Musab

al-Zarqawi’s terrorist group Jamaat Tawhid wa al-Jihad (JTJ), which had established itself inside

Iraq in late 2001 to early 2002 (see section III of this report).

        Between 2003 and 2007, AQI succeeded in absorbing or gaining dominant influence over

numerous other STGIs by establishing umbrella structures over them in which AQI played the

dominant role. The first and most prominent of these AQI-dominated umbrella structures was the

Majlis Shura al-Mujahidin fi-l-Iraq, better known as the Mujahedin Shura Council, or MSC. The

MSC was publicly announced on January 15, 2006, by AQI senior figure Abu Maysarah al-Iraqi

and initially encompassed six Iraqi Sunni terrorist factions:

                   AQI;
                   the Victorious Sect Army;
                   the Monotheism Supporters Brigades (Saraya Ansar al-Tawhid);
                   the Islamic Jihad Brigades (Saraya al-Jihad al-Islami);
                   the Al-Ghuraba (Foreigners) Brigades; and
                   the Al-Ahwal (Fear) Brigades.

        The latter five factions in the MSC were not independent actors, but instead were

effectively subordinates of AQI within the MSC structure.

        In September 2006, three months after Zarqawi’s death in a U.S. airstrike, Al Qaeda deputy

leader Ayman Zawahiri directed AQI to establish another umbrella structure under which to further

consolidate control of Iraq’s Sunni territories and STGIs. Per Zawahiri’s instructions, in October


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2006, AQI leaders announced the establishment of the Islamic State of Iraq (ISI), a political

structure which purported to act as a government, or emirate, over most of Iraq’s Sunni-majority

territories.1 The ISI structure was a front behind which AQI asserted political control of these

territories, just as it was using the MSC as a front behind which to exert control over other jihadi

groups. The ISI was the predecessor of the Islamic State of Iraq and Syria (ISIS, also known as the

Islamic State of Iraq and the Levant (ISIL)), which would seize control of large portions of Iraq

and Syria after 2012 and is still active in those countries today.

        Numerous other STGIs also were either closely affiliated with or under the direction of

AQI during the period relating to the Pautsch case. Some of these groups began their activities

independently of AQI, or even as competitors to AQI, but quickly fell under AQI’s dominant

influence over time as AQI consolidated leadership and control of the Sunni terrorist jihad in Iraq.

AQI was able to achieve this dominant position by virtue of its effective leaders, coherent strategy,

influence within the broader jihadi movement beyond Iraq (especially in the Gulf region and North

Africa), superior resources and funding, ruthless elimination of rival leaders and groups, and

control of the major jihadi facilitation channels into Iraq from Syria and Iran.

        Ansar al Islam and its offshoot group Ansar al-Sunna were two of the most prominent

major STGIs over which AQI exercised increasing influence. Ansar al Islam was formed in

December 2001 as a conglomeration of several smaller Kurdish-based Sunni extremist groups

within the Kurdish Autonomous Zone (KAZ) in northern Iraq. Ansar al-Islam’s original purpose

was to defeat the secular Kurdish groups (the Patriotic Union of Kurdistan (PUK) and the Kurdish

Democratic Party (KDP)) and establish an independent Islamic state in the KAZ. Ansar al-Islam



1
        Joel Rayburn and Frank Sobchak, eds., The U.S. Army in the Iraq War, Volume 1 (Carlisle: Army War
College Press, 2019), pp. 614-615.



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established a base near Halabjah in Iraqi Kurdistan and fought the PUK for control of the

Sulaymaniyah region. As described below, Ansar al-Islam provided refuge in the Halabjah area

for Abu Musab al-Zarqawi and his JTJ followers as they fled Afghanistan in late 2001-early 2002.

        In March 2003, successful joint PUK and U.S. military operations against Ansar al-Islam

strongholds forced many in the group to disperse to other locations, including Iran, although its

members regrouped shortly thereafter and returned to Iraq. During this regrouping period, a large

faction within Ansar al Islam split from the group with the aim of creating a broader-based and

less overtly Kurdish jihadi resistance to the Coalition presence in Iraq. Renaming itself Ansar al-

Sunna, this resistance organization openly swore its fealty to Osama bin Laden. Ansar al-Sunna

associated with AQI, issuing statements claiming joint operations with AQI, including attacks

against U.S. forces. As the Sunni Awakening movement grew into a serious threat to AQI from

the fall of 2006 onward, Ansar al Sunna provided safe haven to AQI networks that were under

pressure from the Awakening.2

        Finally, many smaller jihadi factions in Iraq operated under AQI’s dominant influence over

time, such as the Shield of Islam Brigade, the Army of Mustafa, and the Hassan al-Basri Brigades.3


2
         The Awakening movement, or “Sahwa,” emerged in 2006 and was led by Sunni tribal leaders in the Iraqi
province of al-Anbar who considered AQI a destabilizing threat and were opposed to the terrorist group’s growing
control and influence. By late 2006, the Awakening was devoted to fighting AQI in Iraq in close collaboration with
the U.S. military. During the U.S. military’s “Surge” campaign in 2007-2008, the Awakening movement grew to
almost 100,000 Sunni members and encompassed many defectors from groups within the AQI-dominated MSC. The
Awakening continued to gather momentum in Sunni-majority areas and oppose AQI’s influence and activities in the
years before the U.S. withdrawal at the end of 2011.
3
          SITE Intelligence Group, “Al-Qaeda in Iraq Announces the Joining with Hassan al-Basri Brigades, Warns
American Forces in al-Qaim, and Claims Responsibility for Downing Helicopters in Fallujah and Talafar,” 31 August
2005 (https://ent.siteintelgroup.com/Jihadist-News/al-qaeda-in-iraq-announces-the-joining-with-hassan-al-basri-brig
ades-warns-american-forces-in-al-qaim-and-claims-responsibility-for-downing-helicopters-in-fallujah-and-talafar-
assassinating-an-iraqi-official-in-basra-and-bombings-on-iraqi-forces-in-ba.html); Michael Gabbay, “Mapping the
Factional Structure of the Sunni Insurgency in Iraq,” CTC Sentinel, March 2008 (https://ctc.westpoint.edu/mapping-
the-factional-structure-of-the-sunni-insurgency-in-iraq/); U.S. Army TRADOC TRISA Handbook No. 29, “Terrorist,
Insurgent & Militant Group Logo Recognition Guide,” 15 February 09, at https://web.archive.org/web/2022
1127043146/https://faculty.uml.edu/jyurcak/44.248/ADMIN/US%20Army%20TRADOC%20Terrorist%20Insurgen



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These groups operated with less prominence and at a lower operational tempo than AQI’s larger

affiliates, but periodically claimed responsibility for attacks against Coalition forces, Iraqi security

forces, and civilian targets.

        As this report will detail, AQI and the other STGIs described in this section enjoyed

material support from both the Iranian and Syrian governments during the period relating to the

Pautsch case. The leaders of the Iranian and Syrian regimes made a strategic decision to enable

these terrorists to wage terrorist campaigns in Iraq in order to undermine U.S. and allied objectives

in Iraq and to gain strategic leverage in the Middle East. In particular, Iranian and Syrian

government leaders had a strong interest in enabling AQI and other STGIs to conduct terrorist

attacks against U.S. forces in Iraq such as the attacks at issue in the Pautsch case.

III.    IRANIAN GOVERNMENT SUPPORT TO AL QAEDA IN IRAQ AND OTHER
        SUNNI TERRORIST GROUPS IN IRAQ

        It is my professional opinion that the government of Iran provided material support and

safe haven to Al Qaeda, AQI, and other STGIs during the relevant period. It is also my opinion

that the Iranian government’s support to these groups was essential to these groups’ terrorist

activities in Iraq, and that without the Iranian government’s support these groups could not have

sustained their terrorist campaigns in Iraq throughout the period related to the Pautsch case.

        The Iranian government supported these groups primarily via Iran’s Islamic Revolutionary

Guard Corps-Qods Force (IRGC-QF), Ministry of Intelligence and Security (MOIS), and the

Iranian proxy group Lebanese Hezbollah. Irrespective of the Sunni-Shi’a sectarian differences and

episodic friction between the Iranian regime and some of these Sunni terrorist groups, the Iranian




t%20and%20Militant%20Group%20Logo%20Recognition%20Guide%2015%20Feb%2009.pdf              (accessed   16
September 2023).



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regime has had a policy of supporting these groups as a means of harming the interests of the

United States and its allies in the Middle East.

       The Iranian government’s support of Sunni terrorist groups, including the major STGIs

active in Iraq from 2003 to 2015, originated in the early 1990s and continues today. Iranian

government support for these groups can be described as having evolved over four phases of time:

       - Before the 9/11 attacks, the Iranian regime gave material support to Al Qaeda and
         enabled the group to carry out terrorist attacks against the United States and its allies;

       - From late 2001 to 2003, the Iranian regime gave Al Qaeda and other related Sunni
         terrorist groups sanctuary as they fled Afghanistan during the U.S.-led military
         campaign against the Taliban and allowed them to reconstitute their operational
         leadership inside Iran;

       - During the 2003-2011 U.S.-led Coalition campaigns in Iraq, the Iranian regime enabled
         STGIs to carry out attacks against U.S. and Coalition troops in Iraq and against targets
         outside Iraq; and

       - From 2011 to the present, the Iranian regime has enabled Al Qaeda leaders to direct
         their regional and worldwide activities from Iran, so that by 2022, Iran became Al
         Qaeda’s main base.

       A.      Pre-9/11 Iranian Regime Support for and Cooperation with Sunni Terrorist
               Groups

       The Iranian regime has cooperated with and provided support to Al Qaeda for more than

30 years, dating back to the early 1990s. The earliest known ties between the two came after

Ayman Zawahiri, who would eventually serve as Osama bin Laden’s deputy and then successor

as head of Al Qaeda, traveled to Iran in early 1991 to secure Iranian regime support for his terrorist

group, later merged into Al Qaeda but then known as Egyptian Islamic Jihad (EIJ). During the

visit, the Iranian regime reportedly agreed to give Zawahiri and his terrorist group $2 million;

Zawahiri also met directly with Imad Mughniyeh, the Iranian regime’s top terrorist proxy

commander, and arranged for EIJ operatives to receive training from Mughniyeh’s operatives in




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the Bekaa Valley in Lebanon.4

        According to the 9/11 Commission report, Iranian regime officials next met with senior Al

Qaeda members in Sudan in late 1991 or 1992 to discuss an agreement to cooperate against their

mutual enemies, Israel and the United States. These coordination meetings in Sudan led to

arrangements in which the Iranian regime and Mughniyeh’s Hezbollah gave Al Qaeda members

training and advice in terrorist operations. Shortly after the Sudan meetings, Al Qaeda members

traveled to Iran to receive explosives training from the Iranian regime. In 1993, Al Qaeda

operatives went to the Bekaa Valley to receive explosives training and instruction in intelligence

and security from Hezbollah and Iranian regime officials.5

        In addition, as Zawahiri had done before him, bin Laden met directly with Mughniyeh in

1994 and showed a particular interest in learning how Mughniyeh and his operatives had carried

out the Beirut Marine barracks truck bombing in 1983.6 A brigadier general in Iran’s IRGC,

Mohamed Baqr Zolqadr, also attended the bin Laden-Mughniyeh meeting. Bin Laden apparently

modeled Al Qaeda’s 1998 bombings of the U.S. embassies in Nairobi and Dar es Salaam on

Mughniyeh’s Marine barracks bombing, and the Iranian regime and Hezbollah helped Al Qaeda

with training and explosives to carry out those 1998 embassy attacks. The 9/11 Commission found

that Al Qaeda members who were involved in the Nairobi bombing had received tactical training

at Hezbollah training camps in Lebanon in the months before the embassy attacks.7 And one of



4
       Assaf Moghadam, “Marriage of Convenience: The Evolution of Iran and al-Qa`ida’s Tactical Cooperation,”
CTC Sentinel, April 2017, p. 13.
5
         National Commission on Terrorist Attacks upon the United States, The 9-11 Commission Report (2004),
available at https://govinfo.library.unt.edu/911/report/911Report.pdf, p. 61.

6
        9-11 Commission Report, p. 61.
7
        9-11 Commission Report, p. 68.



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the Al Qaeda members who helped to plan the 1998 attacks, Ali Mohamed, told a U.S. federal

court in 2000 that Iran, via Hezbollah, had supplied Al Qaeda with explosives and the training to

use them.8

       After Al Qaeda bombed the USS Cole in late 2000, the Iranian regime proposed to Osama

bin Laden that Al Qaeda and the Iranian regime form a formal alliance against the United States.

According to senior Al Qaeda operative Walid bin Attash (aka “Khallad”), bin Laden turned down

the Iranian offer out of concern that an overt alliance with Tehran might alienate Al Qaeda’s

supporters in Saudi Arabia.9 Nevertheless, even without a formal, overt alliance, bin Laden and Al

Qaeda continued to enjoy Iranian regime support for their terrorist activities. After the USS Cole

attack, the Iranian regime helped facilitate Al Qaeda’s activities in Afghanistan and elsewhere in

the region, including activities that helped prepare for the 9/11 attacks. During 2000 and 2001, the

Iranian regime and Hezbollah had contact with at least eight of the future 9/11 hijackers, and on

multiple occasions senior Hezbollah operatives traveled in the Middle East on the same flights as

some of the future 9/11 hijackers.10

       B.      Post-9/11 to 2003: Iran as a Safe Haven and Operating Base for Al Qaeda and
               Other Sunni Terrorist Groups

       Having been crucially useful to Al Qaeda’s activities before the 9/11 attacks, the Iranian

regime became vital to Al Qaeda’s survival after 9/11. When the United States launched a

campaign against Al Qaeda and its Taliban hosts in Afghanistan in late 2001, the terrorist group

shifted its main base of operations to Iran, with the Iranian regime’s assistance. Al Qaeda leaders



8
       Thomas Joscelyn, “DC court: Iran showed al Qaeda how to bomb embassies,” Long War Journal, 5
December 2011 (https://www.longwarjournal.org/archives/2011/12/dc_court_iran_showed.php).

9
       9-11 Commission Report, p. 240.
10
       9-11 Commission Report, p. 240.



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had laid the groundwork for this move well before the 9/11 attacks took place. Al Qaeda senior

member Saif al-Adel had already coordinated with the Iranian regime since 1996 to establish an

Al Qaeda base in eastern Iran where Al Qaeda and Hezbollah could train together and where Al

Qaeda members could enter and exit Afghanistan with Iranian regime approval.11 After the 9/11

attacks, with the Taliban government collapsing under intense U.S. military pressure, Al Qaeda

senior officials traveled to Iran in December 2001 seeking IRGC permission for Al Qaeda

members in Afghanistan to relocate to Iran for safety. The Al Qaeda representatives met directly

with IRGC-QF commander Qassem Soleimani to make their request, which the IRGC ultimately

granted in 2002.12

        With the Iranian regime’s permission, dozens of important Al Qaeda members relocated to

Iran after the fall of the Taliban. Notable among these were:

           Saif al-Adel, already well-established as an Al Qaeda interlocutor with the
            Iranian regime, and ultimately (as of 2023) Al Qaeda’s overall leader;

           Osama bin Laden’s son, Sa’ad;

           Osama bin Laden’s wife, Khairiah, and teenage son (and future Al Qaeda senior
            leader) Hamza;

           Abdullah Ahmad Abdullah, alias Abu Muhammad al Masri, one of the key
            planners of the 1998 embassy attacks;

           Abu Khayr al Masri, a senior Egyptian deputy to Ayman Zawahiri;

           Sulaiman Abu Ghaith, a Kuwaiti who served as a senior Al Qaeda spokesman;

           Mahfouz Ould al Walid Khalid al Shanqiti (aka Abu Hafs al Mauritani), the Al
            Qaeda member who had sought Soleimani’s permission for an Al Qaeda safe
            haven inside Iran; and

           Mustafa Hamid, an Al Qaeda operative who the U.S. Treasury said served as a

11
        9-11 Commission Report, p. 240.
12
      Adrian Levy and Cathy Scott-Clark, “Al-Qaeda Has Rebuilt Itself—With Iran’s Help,” The Atlantic (11
November 2017), https://www.theatlantic.com/international/archive/2017/11/al-qaeda-iran-cia/545576/.



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             “primary interlocutor” with the Iranian regime.13

        The Iranian regime initially required Al Qaeda members in Iran in 2002-2003 to live under

close regime supervision, especially where telephone communications were concerned. Over time,

however, the regime afforded Al Qaeda leaders in Iran the freedom to plan and orchestrate terrorist

attacks elsewhere in the region. In 2002, the Al Qaeda leaders listed above were able to establish

an Iran-based “management council” to support broad Al Qaeda activities and to assist the Al

Qaeda senior leadership group (including bin Laden and Zawahiri) in Pakistan.14 As a result, Saif

al-Adel and this group were able to direct Al Qaeda’s May 2003 bombings in Riyadh that killed

nine American civilians.15 As U.S. diplomat Ryan Crocker later recounted to a journalist, the

Iranian regime took no action to stop Al Qaeda’s Iran-based management cell from orchestrating

the Riyadh attacks even though U.S. officials warned Tehran beforehand that the attacks were

being planned from inside Iran:

        In many cases, Al Qaeda was also allowed a degree of freedom in Iran as well.
        Crocker told me that in May, 2003, the Americans received intelligence that Al
        Qaeda fighters in Iran were preparing an attack on Western targets in Saudi Arabia.
        Crocker was alarmed. “They were there, under Iranian protection, planning
        operations,” he said. He flew to Geneva and passed a warning to the Iranians, but
        to no avail; militants bombed three residential compounds in Riyadh, killing thirty-
        five people, including nine Americans.16

        In addition to the Al Qaeda members fleeing the collapsing Taliban state, the Iranian



13
          Bruce Reidel, “The Al Qaeda-Iran Connection,” Brookings Institution, 29 May 2011 (https://www.brookings
.edu/articles/the-al-qaeda-iran-connection/); U.S. Department of the Treasury, “Treasury Targets Al Qaida Operatives
in Iran,” 16 January 2009 (https://home.treasury.gov/news/press-releases/hp1360).
14
       Assaf Moghadam, “Marriage of Convenience: The Evolution of Iran and al-Qa`ida's Tactical Cooperation,”
CTC Sentinel 10, no. 4 (April 2017), p. 14.
15
        Peter Bergen, “Strange Bedfellows—Iran and Al Qaeda,” CNN.com, 10 March 2013 (https://www.cnn.com/
2013/03/10/opinion/bergen-iran-al-qaeda/).
16
        Dexter Filkins, “The Shadow Commander,” The New Yorker, 23 September 2013 (https://www.newyork
er.com/magazine/2013/09/30/the-shadow-commander?currentPage=all).



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regime in late 2001 also allowed the terrorist leader Abu Musab al-Zarqawi to enter Iran for safe

haven from the U.S. campaign in Afghanistan. Zarqawi entered Iran with several hundred of his

terrorist fighters in December 2001 and sheltered in the same location as some Al Qaeda members

before eventually moving on to northern Iraq to establish a new base for his group, known at that

time as Jamaat Tawhid wa al-Jihad (JTJ). According to a 2004 Jordanian intelligence briefing,

Zarqawi was able to move back and forth across the Iran-Iraq border in 2001-2002 and received

Iranian regime support for his terrorist operations.17 Zarqawi’s group would eventually merge with

Al Qaeda and become known as Al Qaeda in Iraq.18

         C.       2003-2011: Iranian Regime Material Support for Sunni Terrorist Groups in
                  Iraq and Beyond

         From the onset of the U.S.-led Coalition campaign against the regime of Saddam Hussein,

the Iranian regime sought to prevent the United States and its allies from establishing a friendly

government in Iraq or from stabilizing the country on terms favorable to the United States. Iranian

regime leaders viewed the U.S. military presence and political influence in Iraq as a threat to

Iranian regime interests, and they also considered Islamist militias and terrorist groups as assets or

allies in thwarting U.S. objectives in the region. It is widely documented and understood that the

Iranian regime materially supported and directed Iraqi and non-Iraqi Shi’a terrorist groups to carry



17
         Mark Hosenball, “Following Zarqawi’s Footsteps in Iran,” Newsweek 144, no. 17 (October 25, 2004), p. 6.
18
          AQI was the first Al Qaeda affiliate to be designated as a foreign terrorist organization (FTO) by the United
States. Zarqawi’s organization Jamaat Tawhid wa al-Jihad was designated as an FTO by the U.S. Department of State
on October 15, 2004. (See the State Department press briefing on the designation at https://2001-2009.state.gov
/r/pa/prs/ps/2004/37130.htm). In making this FTO designation, the State Department cited Zarqawi and Jamaat
Tawhid wa al-Jihad’s abduction and execution of American citizens as well as its campaign to foment civil war in
Iraq. On December 17, 2004, the State Department amended this FTO designation to reflect that Zarqawi and Jamaat
Tawhid wa al-Jihad had on October 17, 2004 publicly declared their allegiance to Osama bin Laden and Al Qaeda and
renamed themselves Al Qaeda in Iraq. (See the State Department press release detailing this FTO amendment at
https://2001-2009.state.gov/r/pa/prs/ps/2004/40081.htm#:~:text=On%20December%2017%2C%202004%2C%20th
e,organization%20known%20as%20Jam'at). In the December 17 announcement, the State Department noted that
Zarqawi and AQI had claimed responsibility for anti-U.S. attacks in Iraq as well as for numerous other terrorist attacks.



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out attacks in Iraq as part of this anti-U.S. effort. It is less widely understood that the Iranian regime

also gave material support from 2003 onward to Sunni extremist groups to carry out attacks in

Iraq, including attacks against U.S. and Coalition personnel and against local Iraqi partners of the

U.S.-led Coalition. The Iranian regime sought to keep its support for Sunni terrorists secret and

plausibly deniable to avoid U.S. retaliation.

        During this period, the IRGC and MOIS allowed Al Qaeda’s Iran-based leadership to

support and facilitate the operations of Al Qaeda’s Iraq affiliate, AQI. In addition, the IRGC and

MOIS provided material support directly to some STGIs. Concerning the MOIS’s role, the U.S.

Treasury has noted that:

        MOIS has facilitated the movement of al–Qaida operatives in Iran and provided
        them with documents, identification cards, and passports. MOIS also provided
        money and weapons to al–Qa’ida in Iraq (AQI), a terrorist group designated under
        E.O. 13224, and negotiated prisoner releases of AQI operatives. 19

        Even more explicitly, the Treasury noted in January 2008 that a senior general officer in

the IRGC-QF, Ahmed Foruzandeh, supported STGIs and specifically sought to sponsor Sunni

groups to carry out suicide bombings, including against U.S. troops. Foruzandeh served as

commander of the Ramazan Corps, the IRGC-Qods Force’s subordinate command responsible for

most of the IRGC operations inside Iraq. In that command capacity, according to the U.S. Treasury,

Foruzandeh in February 2007 “ordered his Iranian intelligence officers to continue targeting Shia

and Sunnis to further sectarian violence within Iraq.” Just weeks later, in April 2007, Foruzandeh

gave $25,000 to two men claiming to be members of a Sunni terrorist organization in Iraq,

instructing them to carry out attacks against Coalition forces in Iraq’s Salahadin Province and



19
          U.S. Department of the Treasury, “Treasury Designates Iranian Ministry of Intelligence and Security for
Human Rights Abuses and Support for Terrorism,” 16 February 2012 (https://home.treasury.gov/news/press-
releases/tg1424).



                                                       22
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promising more money once they had delivered him videos of the attacks. He also promised to

provide them weapons at the Iran-Iraq border.20

        As head of the Ramazan Corps, Foruzandeh was one of IRGC-QF commander Qassem

Soleimani’s most important lieutenants, responsible for a theater of operations to which Soleimani

dedicated an enormous amount of his direct attention and Qods Force resources. Soleimani was a

notorious micromanager of his subordinate commands, especially in operating areas such as Iraq

that were top Iranian regime priorities.21 Thus Foruzandeh’s outreach to Sunni terrorists in Iraq

indicates that he was following a deliberate Iranian regime strategy, overseen by Soleimani, to

sponsor both Shi’a and Sunni terrorist groups inside Iraq in order to foment sectarian strife and

prevent the U.S.-led Coalition from stabilizing the country. The Iranian regime’s priority of

thwarting U.S. objectives in Iraq and the broader region superseded whatever sectarian misgivings

Iranian regime officials might have had about working with Sunni terrorists such as AQI who were

involved in killing Iraqi Shi’a at the time. Former Iraqi Vice President Tariq al-Hashemi reinforced

this assessment when he told a television interviewer that Soleimani had told him directly during

a meeting in Tehran that the Iranian regime supported Al Qaeda’s terrorist campaign in Iraq and

allowed Al Qaeda operatives to enter Iraq from Iran in order to thwart the “American project” in

Iraq and to protect the Syrian regime.22

        Against this backdrop of the Iranian regime’s support to Sunni terrorists in Iraq, key Iran-

based Al Qaeda leaders were free to use Iran as a base from which to support AQI and similar


20
        U.S. Department of the Treasury, “Treasury Designates Individuals, Entity Fueling Iraqi Insurgency,” 9
January 2008 (https://home.treasury.gov/news/press-releases/hp759).
21
          Ali Hashem, “Iran Struggles to Fill the Vacuum Left by Soleimani,” Newlines Institute, 7 January 2021
(https://newlinesinstitute.org/uncategorized/iran-struggles-to-fill-the-vacuum-left-by-soleimani/).
22
        “Qassem Soleimani’s recognition of Iran’s financing and support for the [Al Qaeda] organization,” al-Sater
al-Awsat, MBC Television (https://www.facebook.com/watch/?v=756848305702039).



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Sunni groups inside Iraq during the U.S.-led campaign in that country. A few of the most

significant examples of this Iran-based Al Qaeda network include:

           Ezedin Abdel Aziz Khalil (aka Yasin al Suri), a Syrian from Qamishli who,
            from 2005 onward, headed an Iran-based Al Qaeda network that funneled
            money and operatives from Iran into Iraq as part of what the U.S. Treasury
            described as a “secret deal” between Al Qaeda and the Iranian regime. Yasin
            also used his base in Iran to collect funds from donors in Gulf countries and
            then move those funds via Iran to Al Qaeda leaders in Afghanistan and Iraq.23

           Umid Muhammadi, a Syrian Kurd who was a terrorist facilitator using Iran as
            a base from which to support AQI. He both planned attacks inside Iraq and
            trained terrorists to use explosives for such attacks. He also played a role in
            coordinating with the Iranian regime to release Al Qaeda operatives who had
            been detained in Iran.24

           Abd al-Rahman Khalaf Ubayd Juday al-Anizi, a terrorist facilitator who from
            (at the latest) 2008 onward worked with Iran-based Al Qaeda members to
            finance the travel of fighters from Syria into Iraq. Anizi later became a
            prominent facilitator for both ISIS and the Nusrah Front in Syria and Iraq and
            moved to Syria in 2013.25

        The efforts of the IRGC-QF, MOIS, and Iran-based Al Qaeda members to support AQI

and other Sunni terrorists inside Iraq ultimately came to the attention of the U.S.-led Coalition

command in Baghdad as the sectarian conflict in Iraq escalated.

        In late December 2006, U.S. troops in Baghdad captured Brigadier General Mohsen

Chizari, a top IRGC-QF official who, according to U.S. intelligence officials, was carrying

documents indicating that the Iranian regime was working with both Shi’a militias and Sunni




23
          U.S. Department of the Treasury, “Treasury Targets Key Al-Qa’ida Funding and Support Network Using
Iran as a Critical Transit Point,” 28 July 2011 (https://home.treasury.gov/news/press-releases/tg1261).

24
          U.S. Department of the Treasury, “Treasury Targets Key Al-Qa’ida Funding and Support Network Using
Iran as a Critical Transit Point,” 28 July 2011 (https://home.treasury.gov/news/press-releases/tg1261).
25
          United National Security Council Sanctions Summary for ‘ABD AL-RAHMAN KHALAF ‘UBAYD
JUDAY’ AL-‘ANIZI, updated 2 February 2023 (https://www.un.org/securitycouncil/sanctions/1267/aq_sancti
ons_list/summaries/individual/%E2%80%98abd-al-rahman-khalaf-%E2%80%98ubayd-juday%E2%80%99-al-%E2
%80%98anizi).



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jihadist groups in Iraq, including both AQI and Ansar al-Sunna. The documents included an

Iranian regime assessment that Iraq’s other neighboring states were likely to ramp up their support

for Sunni terrorist groups in Iraq, and that the Iranian regime had a corresponding interest in

expanding its relations with those Sunni terrorists—presumably including AQI and Ansar al-

Sunna.26

        A few months later, in April 2007, Coalition spokesman Major General William Caldwell

revealed to the press that the U.S.-led command had “found some cases recently where Iranian

intelligence services have provided to some Sunni insurgent groups some support,” including

funding and weapons.27 A month later, Caldwell revealed that “we do know that there is a direct

awareness by Iranian intelligence officials that they are providing support to some select Sunni

insurgent elements.” 28 Caldwell’s April-May 2007 statements coincided with Foruzandeh’s early

2007 efforts to sponsor Sunni terrorist attacks in Iraq, mentioned above.

        Illustrating this operational connection, later in May 2007, Coalition troops in the Iraqi

town of Khanaqin, near the Iranian border, captured an operative who served as a liaison between

AQI leaders in Baghdad and Iran-based Al Qaeda leaders, moving information and documents

between the two.29

        The Iranian regime’s longtime interaction with Al Qaeda and other associated groups

illustrates that Iranian leaders considered cooperation with Al Qaeda to be in the Iranian regime’s


26
          Eli Lake, “Iran’s Secret Plan For Mayhem,” New York Sun, 3 January 2007 (https://www.nysun.com
/article/foreign-irans-secret-plan-for-mayhem).
27
          Marisa Cochrane, “Backgrounder #26: Iran and Al-Qaeda in Iraq: What’s the Connection?” Institute for the
Study of War (https://www.understandingwar.org/sites/default/files/reports/Iran%20and%20Al-Qaeda%20in%20
Iraq.pdf, accessed 1 September 2023), p. 4.
28
        Cochrane, “Iran and Al Qaeda: What’s the Connection?” p. 7.
29
        Cochrane, “Iran and Al Qaeda: What’s the Connection?” p. 11.



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interest and to transcend Shi’a-Sunni sectarian rivalry. A series of documents written by Al

Qaeda’s top leaders indicate that they shared the Iranian regime’s judgment about the Al Qaeda-

Iran relationship.

            The Zawahiri-Zarqawi Letter. Beginning in January 2004, Abu Musab al-
             Zarqawi proposed to Osama bin Laden and other senior Al Qaeda leaders that
             Al Qaeda’s top priority in Iraq should be to wage a sectarian jihad against the
             Iraqi Shi’a and Iran.30 Zarqawi considered Shiism to be the foremost threat
             confronting the Sunni Muslim world and hoped by waging a terrorist campaign
             against Shi’a targets to incite the Sunni world into war against the Iranian
             regime and its proxies. He put this approach into practice in Iraq in 2004-2006,
             when he repeatedly launched mass casualty attacks against Shi’a communities
             and targets. Recognizing the danger that Zarqawi’s Shi’a-focused terror
             campaigns posed to Al Qaeda’s relationship with the Shi’a Iranian regime, and
             also to Al Qaeda’s new base in Iran, Ayman Zawahiri wrote to Zarqawi in 2005
             urging him to cease his anti-Shi’a campaign. Zawahiri explicitly reminded
             Zarqawi that more than 100 Al Qaeda members were in Iranian “custody” and
             that “both we and the Iranians need to refrain from harming each other at this
             time in which the Americans are targeting us.”31 While Zawahiri acknowledged
             some of Zarqawi’s concerns about the heresy of Shi’a Islam, he urged Zarqawi
             to focus sequentially on expelling the United States from Iraq, establishing an
             Islamic emirate, expanding the jihad to the rest of the Arab world, and resisting
             Israel, all before turning any attention to the problem of Iran and Shiism.32

            Atiyah’s Letter to Zarqawi. In late 2005, with Zarqawi having disregarded
             Zawahiri’s instructions to refrain from terrorist attacks antagonizing the Iraqi
             Shi’a and Iran, senior Al Qaeda leader Atiyah abd al-Rahman wrote to Zarqawi
             to reiterate Zawahiri’s wishes.33 Atiyah pressed Zarqawi to follow Zawahiri’s
             instructions concerning military strategy, and especially not to carry out attacks
             against Shi’a targets. Having previously been tasked by bin Laden to be Al
             Qaeda’s main liaison inside Iran with the Iranian regime, Atiyah was well aware
             of the degree to which Al Qaeda depended on the Iranian regime’s cooperation

30
          February 2004 Coalition Provisional Authority English translation of terrorist Musab al Zarqawi letter
obtained by United States Government in Iraq, available at https://2001-2009.state.gov/p/nea/rls/31694.htm; Defense
Intelligence Agency briefing, “Abu Musab al-Zarqawi and Al-Qaida in Iraq,” available at
https://www.dia.mil/FOIA/FOIA-Electronic-Reading-Room/FileId/161443/.

31
         Zawahiri’s Letter to Zarqawi, available at https://ctc.westpoint.edu/wp-content/uploads/2013/10/Zawahiris-
Letter-to-Zarqawi-Translation.pdf.
32
         Zawahiri’s Letter to Zarqawi, available at https://ctc.westpoint.edu/wp-content/uploads/2013/10/Zawahiris-
Letter-to-Zarqawi-Translation.pdf.
33
         Atiyah’s Letter to Zarqawi, available at https://ctc.westpoint.edu/harmony-program/atiyahs-letter-to-zarq
awi-original-language-2/.



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             in order to survive and operate. As the man who would become Al Qaeda’s
             deputy leader after bin Laden’s death and the ascension of Zawahiri, Atiyah
             was speaking authoritatively for Al Qaeda’s senior leadership circle in his
             missive to Zarqawi.

            Bin Laden’s Instructions to “Karim.” In October 2007, Osama bin Laden
             himself wrote to a jihadi leader in Iraq (a man bin Laden addressed as “Karim”)
             urging the man to refrain from attacking or publicly threatening Shi’a targets
             and Iran. “Iran is our main artery for funds, personnel, and communication,”
             bin Laden wrote, adding that “Karim” should not fight the Iranians “unless you
             are forced to because of the great harm caused by them.”34 Karim should instead
             focus on attacking “the crusaders and the apostates”—meaning the United
             States and its local allies. If, however, Karim had no choice but to fight against
             the Iranians, bin Laden continued, such attacks should not be publicly
             announced, presumably so as not to provoke an Iranian regime retaliation
             against Al Qaeda’s network in Iran.

            Zawahiri’s letter to the Iranian regime. In late 2008, Zawahiri explicitly
             thanked Iranian officials for facilitating Al Qaeda’s terrorist operations. After a
             17 September 2008, Al Qaeda attack on the U.S. embassy in Sana’a, Yemen
             that killed 18 people, Zawahiri wrote to IRGC leadership lauding them for their
             “vision” and generosity in helping Al Qaeda to establish its terror network in
             Yemen. Without Iran’s “monetary and infrastructure assistance,” Zawahiri
             wrote, Al Qaeda would not have been able to carry out the September attack.35

        Shortly after Zawahiri and Atiyah warned Zarqawi to refrain from antagonizing the

Iranians, AQI came under leadership much more closely aligned with the priorities of Al Qaeda’s

senior leaders. After Zarqawi’s death in a U.S. military airstrike in northern Iraq in June 2006,

AQI’s leadership passed to Abdel Moneim Ezz El-Din Ali Al-Badawi (aka Abu Ayyub al-Masri

or Abu Hamza al-Muhajir), an Egyptian terrorist who was a longtime protégé of Zawahiri. Abu

Ayyub al-Masri began his career as a terrorist by joining Zawahiri’s Egyptian Islamic Jihad in




34
      Bin Laden’s Letter to Karim, available at https://www.dni.gov/files/documents/ubl2016/english/Letter
%20to%20Karim.pdf.
35
            Con Coughlin, “Iran receives al-Qaeda praise for role in terrorist attacks,” The Telegraph, Nov. 23, 2008
(https://www.telegraph.co.uk/news/worldnews/middleeast/iran/3506544/Iran-receives-al-Qaeda-praise-for-role-in-terro
rist-attacks.html).



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1982, and in 1999 he joined Bin Laden’s Al Qaeda training camp in Afghanistan.36 Once in

command of AQI, Abu Ayyub began using AQI to launch terrorist plots against Western targets,

as Al Qaeda senior leaders had urged Zarqawi to do, such as AQI’s bold but unsuccessful plot to

carry out bombings in London and Glasgow in 2007.37 Shortly after the UK bomb plot, Zawahiri

released an audio message in which he appeared to warn that the planned AQI bombings in those

cities had been Al Qaeda’s response to the UK’s knighthood of Salman Rushdie.38 In October

2008, Al Qaeda released an interview in which Abu Ayyub confirmed that the UK bomb plots had

been the work of AQI.39 The episode indicated that under Abu Ayyub, AQI was executing

international terror attacks under Zawahiri’s guidance. Like Zarqawi, Abu Ayyub eventually was

killed in a U.S. airstrike in western Iraq in 2010.

         D.      2011 to the Present: Iran Becomes Al Qaeda’s Main Support Base

         After the death of AQI’s top leaders at the hands of the U.S. military in 2010, Iran

increasingly became Al Qaeda leaders’ main base and safe haven and remains so to the present

day. Although bin Laden and Zawahiri remained in secret locations in Pakistan, Al Qaeda’s most

active operational leaders were based in Iran, where they enjoyed Iranian regime protection and

were safe from the kind of U.S. and allied counterterrorism operations that ultimately killed bin

Laden and Zawahiri.


36
       “U.S. reveals face of alleged new terror chief,” CNN.com, 15 June 2006 (https://www.cnn.com
/2006/WORLD/meast/06/15/iraq.main/.
37
        Raymond Bonner, Jane Perlez and Eric Schmitt, “British Inquiry of Failed Plots Points to Iraq’s Qaeda
Group,” The New York Times, 14 December 2007 (https://www.nytimes.com/2007/12/14/world/europe
/14london.html).
38
        “Al-Qaida’s No. 2 purportedly threatens Britain,” Associated Press, 10 July 2007 (https://www.nbcnews.com
/id/wbna19696301).
39
         Kyle Orton, “The First ‘Interview’ with the Islamic State’s War Minister (2008),” Kyle Orton’s Blog, 3 April
2021       (https://kyleorton.co.uk/2021/04/03/the-first-interview-with-the-islamic-states-war-minister-2008/#more-
9566).



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        Notably, Saif al-Adel, Abdullah Ahmed Abdullah (aka Abu Muhammad al-Masri), and

Mohamed Abbatay (aka Abd al-Rahman al-Maghrebi) were all located in Iran as they took

increasing control of Al Qaeda’s continuing activities in Iraq, Syria, and elsewhere in the Middle

East after bin Laden’s death in Abbottabad, Pakistan in 2011. A 2018 UN terrorism report assessed

that these leaders were using Iran as a base for running Al Qaeda’s worldwide networks and

“projecting [Zawahiri’s] authority.”40

        Abu Muhammad al-Masri became Al Qaeda’s overall deputy leader under Ayman

Zawahiri after bin Laden’s death. According to U.S. intelligence officials, by 2015, Abu

Muhammad was living freely with his family in an upscale suburb of Tehran under a false

identity—that of a Hezbollah-affiliated Lebanese professor—provided to him by the Iranian

regime. Abu Muhammad was killed in Tehran in November 2020 by Israeli operatives reportedly

acting at the behest of the United States. When he was killed, IRGC social media accounts

attempted to preserve his cover story by claiming the deceased was a Hezbollah-affiliated history

professor named “Habib Daoud.”41

        Abd al-Rahman al-Maghrebi, a Moroccan, is Ayman Zawahiri’s son-in-law and was

among the senior Al Qaeda members who fled to Iran after the fall of the Taliban in 2001. For

more than two decades, he has been based in Iran, where he heads Al Qaeda’s media arm and also

has been able to travel between Iran and Afghanistan to conduct Al Qaeda activities, and he may




40
       Thomas Joscelyn, “UN: Iran-based leaders ‘have grown more prominent’ in al Qaeda’s global network,”
Long War Journal, 14 August 2018 (https://www.longwarjournal.org/archives/2018/08/un-iran-based-leaders-have-
grown-more-prominent-in-al-qaedas-global-network.php).
41
        Adam Goldman, Eric Schmitt, Farnaz Fassihi and Ronen Bergman, “Al Qaeda’s No. 2, Accused in U.S.
Embassy Attacks, Was Killed in Iran,” The New York Times, 13 November 2020 (https://www.nytimes.com
/2020/11/13/world/middleeast/al-masri-abdullah-qaeda-dead.html#:~:text=qaeda%2Ddead.html-,Al%20Qaeda's%20
No.,has%20publicly%20acknowledged%20the%20killing).



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have been in Zawahiri’s residence in Kabul when Zawahiri was killed by a U.S. airstrike in 2022.42

        Finally, according to U.S. and UN terrorism assessments, since Zawahiri’s death, Saif al-

Adel has become Al Qaeda’s “undisputed” top leader. He remains in Iran, from where he directs

Al Qaeda’s worldwide networks and operations.43 His ability to direct Al Qaeda from inside

Iranian territory indicates that the Iranian regime continues to have a government policy of

providing material support to Al Qaeda.

IV.     SYRIAN GOVERNMENT SUPPORT TO AL QAEDA IN IRAQ AND OTHER
        SUNNI TERRORIST GROUPS IN IRAQ

        It is my professional opinion that the Syrian government provided material support to AQI

and other STGIs during the period of the U.S.-led Coalition campaign in Iraq from 2003 to 2011

and afterward. It is also my opinion that without this Syrian government support, AQI and other

STGIs could not have sustained their terrorist attacks and other militant operations in Iraq

throughout the period relating to the Pautsch case.

        A.       Syrian Government Support to Terrorist Groups as a Deliberate Policy by
                 Syrian Leaders

        The Syrian regime of Bashar al-Assad supported AQI and other Sunni terrorist groups in

Iraq as part of a strategy to oppose the objectives of the United States and its allies in the Middle

East. The Assad regime enabled terrorist groups to conduct attacks against U.S. troops and

civilians, Coalition troops and civilians, Iraqi government forces, and Iraqi civilians. The Syrian

regime considered these attacks to be in its interest not just to undermine the U.S.-led Coalition

campaign in Iraq, but also to gain leverage and political influence in the post-Saddam Iraq.



42
        Federal Bureau of Investigation wanted poster for Abd al-Rahman al-Maghrebi (https://www.fbi.gov/
wanted/terrorinfo/abd-al-rahman-al-maghrebi).
43
         Andrew Jeong, “Militant in Iran identified as al-Qaeda’s probable new chief in U.N. report,” Washington
Post, 15 February 2023 (https://www.washingtonpost.com/world/2023/02/15/al-qaeda-leader-saif-al-adel/).



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       The Assad regime’s support for AQI and other STGIs was also in keeping with the regime’s

longstanding strategy, originated by its previous ruler, Hafez al Assad, of gaining regional political

leverage by sponsoring the militant opposition to each of Syria’s neighboring governments. For

this reason, the Assad regime has hosted, sponsored, protected, and materially supported, for

example:

          The Kurdistan Workers’ Party (PKK) against the government of Turkey;

          Hamas and Palestinian Islamic Jihad against Israel;

          Hamas and other terrorist groups against Jordan;

          Lebanese Hezbollah, Amal, and other terrorist and militant groups against
           Lebanese political parties and civil society;

          Da’wa, the Patriotic Union of Kurdistan, and other Iraqi groups against the Iraqi
           regime of Saddam Hussein; and

          The Iraqi Ba’ath Party, AQI, and other Sunni groups against the post-2003 Iraqi
           state.

       Over decades of supporting these groups, the Syrian government developed an extensive

institutional infrastructure and policy guidelines for supporting militant and terrorist groups and

their political and operational activities. The Syrian regime’s security and intelligence agencies

generally had the lead role within the Syrian government in providing this institutional support.

       Although the Syrian regime under the Assad family has been dominated by the Alawite

community—a sect that many Sunni extremists consider heretical—sectarian differences have not

been an obstacle to cooperation between the Assad regime and Sunni terrorist groups. Supporting

Sunni terrorist groups has instead been a valuable way for the Assad regime to deflect sectarian

animus from the Salafi jihadi community in particular. The Assad regime has also preferred to

actively channel Syrian Sunni extremists’ activities outward, against the regime’s external

enemies, rather than risk having those extremists turn inward against regime rule.




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        The Assad regime’s method of controlling extremist groups in Syria has been to:

            Clandestinely infiltrate all major extremist groups in order to monitor and direct
             their actions and intentions;

            Alternate support for and punishment of extremist groups in order to establish
             regime authority and to deter all extremist groups from taking independent
             action;

            Preserve plausible deniability while sponsoring extremist groups, so that often
             rank-and-file extremist group members are unwitting of the authority the Syrian
             regime wields over their group;

            Empower extremist groups to undermine more moderate opposition to the
             Assad regime and its objectives; and

            Have the ability to sell out or hand over select militants or terrorists to other
             powers when useful for Assad regime interests.

        Syrian regime support to AQI and similar STGIs was a high policy priority within the

Assad regime, emanating from the highest levels of regime leadership. Bashar al-Assad was

directly involved in formulating the policy and instructing Syrian government leaders and agencies

on implementing the policy. One former senior advisor to Assad recalled that the Syrian dictator

made all major decisions about Syrian government support to Iraqi terrorist groups himself, and

that “anyone who thinks otherwise…does not understand how our regime worked.”44 Within the

regime leadership circle, Assad made his brother-in-law, General Assef Shawkat, the lead for

executing the policy via Shawkat’s Syrian Military Intelligence directorate, although several other

Syrian government agencies also arranged support to AQI and STGIs for operations in Iraq.45




44
         Joel Rayburn, Iraq After America: Strongmen, Sectarians, Resistance (Stanford: Hoover Institution Press,
2014), p. 108.
45
          Thomas Joscelyn, “Slain Syrian Official Supported al Qaeda in Iraq,” Long War Journal, 25 July 2012
(https://www.fdd.org/analysis/op-eds/2012/07/25/slain-syrian-official-supported-al-qaeda-in-iraq/).



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       B.      Beginnings of the Syrian Regime’s Support for AQI and Other STGIs

       The Assad regime’s material support for the jihadist network that became known as AQI

began in the period immediately preceding the 2003 U.S.-led invasion of Iraq. During that period,

the Assad regime channeled “volunteers” into Iraq to assist Saddam Hussein’s regime in resisting

the U.S.-led invasion force. Mahmoud Naser, a former Syrian official who once headed the

regime’s political intelligence branch in the northeastern Syrian district of Ras al Ain, told a

Western journalist that “We in Syria[n] intelligence opened all the doors for [the jihadists] to go

[to] Iraq.”46 Naser said Syrian intelligence estimated that 20,000 fighters crossed from Syria into

Iraq at the time of the U.S. invasion, and though most of these returned soon after the fall of

Saddam Hussein, Naser estimated that about 5,000 of the fighters remained ideologically

committed to resistance against the U.S.-led Coalition, and these formed the foreign core of the

Sunni terrorist groups operating in Iraq.47

       As part of its decision to sponsor jihadis against the U.S.-led Operation Iraqi Freedom, the

Assad regime in early 2003 released a large number of Sunni extremists from Syrian jails to allow

them to fight in Iraq. Many of these released militants became important leaders and operatives in

AQI and other STGIs from 2003 onward. For example, the Sunni terrorist Shaker al-Absi, whom

the Syrian regime jailed in 2000, was released in early 2003 and made his way to Iraq, where he

operated as a close collaborator of Abu Musab al-Zarqawi. According to the Jordanian

government, al-Absi had already cooperated with Zarqawi in terrorist activities before the Iraq

invasion. A Jordanian court sentenced al-Absi to death in absentia for participating, with Zarqawi,



46
          Roy Gutman, “Assad Henchman: Here’s How We Built ISIS,” The Daily Beast, 1 December 2016
(https://www.thedailybeast.com/assad-henchman-heres-how-we-built-isis).
47
          Roy Gutman, “Assad Henchman: Here’s How We Built ISIS,” The Daily Beast, 1 December 2016
(https://www.thedailybeast.com/assad-henchman-heres-how-we-built-isis).



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in the 2002 assassination of U.S. diplomat Laurence Foley in Amman, indicating the close

association between the two terrorist leaders.48 Returning to Syria from Iraq, al-Absi eventually

formed a Lebanon-based terrorist group called Fatah al-Islam. Under al-Absi, Fatah al-Islam

targeted anti-Assad political and civil society figures in Lebanon and fought a months-long battle

against the Lebanese army in the Nahr al-Barid refugee camp in 2007.49 Fatah al-Islam cooperated

closely with AQI in its Lebanon activities. In 2006-2007, Fatah al-Islam members in the Ain el-

Hilweh and Nahr al-Bahr camps recruited militants on behalf of AQI and helped them enter the

jihadi pipeline leading across Syria to Iraq.50

        Releasing Sunni extremists from prison to enable them to conduct terrorist activities was a

well-established practice that the Assad regime’s intelligence agencies would repeat later at the

beginning of the Syrian civil war. According to former Syrian regime officials, from May to

October 2011, the Assad regime deliberately released a large number of Sunni extremists from

prison to enable them to radicalize the Syrian opposition groups, target political and civil society

opposition figures for assassination, and give credence to Assad’s strategy of presenting himself

as the lesser of two evils compared to Sunni Islamist terrorists that Assad himself was secretly

supporting.51




48
          Lee Smith, “Damascus’s Deadly Bargain,” The                New     Republic,   14   November      2008
(https://newrepublic.com/article/62377/damascuss-deadly-bargain).
49
          “The confrontation in northern Lebanon between the Lebanese army and Fath al-Islam, the Al-Qaeda
offshoot in Lebanon,” The Meir Amit Intelligence and Terrorism Information Center, 31 May 2007
(https://www.terrorism-info.org.il/en/18615/).
50
        Joel Rayburn, Iraq After America, p. 117.
51
         Phil Sands, Justin Vela, and Suha Maayeh, “Assad regime abetted extremists to subvert peaceful uprising,
says former intelligence official,” The National (UAE), 20 January 2014 (https://www.thenationalnews.com/world/
assad-regime-abetted-extremists-to-subvert-peaceful-uprising-says-former-intelligence-official-1.319620).



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       Beyond the intelligence agencies, Syrian ministries and civil administrations also received

orders to help Syrians join the jihad in Iraq. Former Syrian ambassador and provincial governor

Nawaf al-Faris, who defected from the Assad regime in 2012, publicly attested that while serving

as a governor he received instructions in the period after Saddam’s fall to assist any Syrian civil

servant who wanted to go to Iraq to join the Sunni terrorist groups there. Faris also said he

personally knew Syrian government officials who were still serving as Assad regime liaisons to

Al Qaeda in 2012, and that the regime saw an interest in maintaining ties to groups like Al Qaeda

so they could be used as bargaining chips with the West.52

       C.      Syrian Regime Support to the Iraqi Baathist Resistance

       In addition to sponsoring Syrian and other Arab terrorists to enter Iraq to join the

“resistance” there, the Assad regime also decided in 2003 to host the remnants of the Iraqi Baathist

regime after Saddam fell from power and assist them in mounting terrorist attacks and an insurgent

campaign inside Iraq. The Syrian regime supported Saddam’s kinsman and second-in-command,

Izzat Ibrahim ad-Douri, as he established a network of Iraqi Baathists in Syria and channeled funds

and other support to STGIs, including Douri’s own militant organization, the Naqshbandi Army.53

The Assad regime also sponsored a rival Iraqi Baathist network under Muhammad Yunis al

Ahmad, a senior official in Saddam’s regime, and enabled him to support terrorist and insurgent

operations inside Iraq.54



52
          “Dissident Syrian ambassador reveals Assad’s links to al-Qaeda,” Az-Zaman, 15 July 2012
(https://www.azzaman.com/%D8%A7%D9%84%D8%B3%D9%81%D9%8A%D8%B1-%D8%A7%D9%84%D8%
B3%D9%88%D8%B1%D9%8A-%D8%A7%D9%84%D9%85%D9%86%D8%B4%D9%82-%D9%8A%D9%83%
D8%B4%D9%81-%D8%B9%D9%86-%D8%B5%D9%84%D8%A7%D8%AA-%D8%A7%D9%84%D8%A3%D8
%B3/).
53
       Rayburn, Iraq After America, pp. 107-109.
54
       Rayburn, Iraq After America, pp. 107-109.



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        To manage the Syrian regime’s support to these Iraqi Baath party networks, Assad used an

Iraqi named Fawzi al Rawi, whom Assad appointed to head the Iraqi branch of the Syrian Baath

Party in 2003. In this capacity, al Rawi channeled funds and other material support to al Douri, al

Ahmad, and other STGIs that included Al Qaeda in Iraq. The U.S. Treasury Department later

levied sanctions on al Rawi for facilitating support to these terrorist networks. The Treasury

revealed that in September 2005, al Rawi traveled to Ramadi to help coordinate AQI operations

against U.S. forces and in November of that year gave $300,000 to AQI members. Al Rawi also

reportedly provided AQI with car bombs, small arms, and suicide bombers.55

        D.       Syrian Regime Support to AQI’s Terrorism Facilitation Networks

        With the Assad regime’s support, AQI established an extensive terrorist facilitation

network in Syria that channeled thousands of foreign fighters into Iraq between 2003 and 2011.

Regime-supported AQI facilitators received foreign fighters who entered Syria at Damascus

airport, transported them to safe houses and training camps in eastern Syria, and facilitated their

entry into Iraq either along a northern route from Hassakeh or Qamishli into Iraq’s Ninewa

Province or a southern route along the Euphrates River Valley from Albu Kamal, Syria, to Al

Qaim in Iraq’s Anbar Province. The U.S.-led Coalition command in Iraq became aware of these

terrorist facilitation routes early in the Iraq war, but was not aware of the volume of terrorists using

the routes until U.S. troops captured a trove of AQI documents during a counterterrorism raid in

the northern Iraqi town of Sinjar in 2007. The “Sinjar records” included personnel records of

almost 700 AQI foreign fighters who had entered Iraq from Syria in 2006-2007. The documents

also showed that AQI had established a “border emir” whose job was to receive jihadis coming



55
       U.S. Department of the Treasury, “Treasury Designates Individuals with Ties to Al Qaida, Former Regime,”
7 December 2007 (https://home.treasury.gov/news/press-releases/hp720).



                                                      36
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from Syria, onboard them to the AQI organization, and send them onward to their operational

assignments in Iraq.56 The Sinjar records made clear that the Syria-based AQI facilitation networks

had been able to move thousands of jihadis across Syria to join the Iraq jihad.

         From 2004 to 2008, the most prominent and prolific of the Syria-based AQI facilitators

was Badran Turki al Mazidih, an Iraqi better known by his nom de guerre, Abu Ghadiyah. Abu

Ghadiyah facilitated the entry into Iraq of thousands of fighters, including terrorists who carried

out many of the Iraq war’s most damaging suicide attacks.57 In October 2008, Abu Ghadiyah was

killed by a U.S. military raid that crossed from Iraq into Syria to target him in his safe house in

Albu Kamal. After Abu Ghadiyah’s death, AQI’s Syria facilitation network came under the

direction of Abu Ghadiyah’s AQI colleague, Sa’ad Uwayyid ‘Ubayd Mu’jil al Shammari (aka Abu

Khalaf), who continued to channel foreign terrorists into Iraq until he himself was killed by U.S.

troops near Mosul in January 2010.58

         From the beginning of its existence, AQI’s Syria-based facilitation network was monitored

and supported by Syrian regime intelligence agencies. Colonel Nabil Dandal, the former head of

the Syrian regime’s political intelligence directorate in Latakia Province, later revealed in a

television interview that AQI’s facilitation routes to Iraq were supervised by the Tadmur (Palmyra)

branch of Assef Shawkat’s Military Intelligence directorate. Dandal explained that the Syrian




56
          Brian Fishman and Joseph Felter, “Al-Qa’ida’s Foreign Fighters in Iraq: A First Look at the Sinjar Records,”
West Point Combating Terrorism Center, 2 January 2008 (https://ctc.westpoint.edu/al-qaidas-foreign-fighters-in-iraq-
a-first-look-at-the-sinjar-records/).
57
         Joel Rayburn and Frank Sobchak, eds., The U.S. Army in the Iraq War, Volume 2 (Carlisle: Army War
College Press, 2019), pp. 259-261; U.S. Department of the Treasury, “Treasury Designates Members of Abu
Ghadiyah’s Network Facilitates flow of terrorists, weapons, and money from Syria to al Qaida in Iraq,” 28 February
2008 (https://home.treasury.gov/news/press-releases/hp845).
58
         Bill Roggio, “US kills senior Syrian-based al Qaeda facilitator in Mosul,” Long War Journal, 28 January
2010 (https://www.longwarjournal.org/archives/2010/01/us_kills_senior_syri.php).



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regime “wanted to make Iraq costly to the United States so that the United States does not come

to Syria.” Dandal also noted that Shawkat’s Military Intelligence oversaw the formation of terrorist

cells in Aleppo and other Syrian cities and then helped those cells cross into Iraq via Albu Kamal

or Hassakeh.59

        In addition to hosting AQI’s main facilitation networks for years, the Syrian regime was

also AQI’s indispensable strategic base that enabled the terrorist group to survive its most serious

existential challenge, the Sunni tribal movement known as “the Awakening.” The Awakening

began as an Iraqi Sunni tribal backlash to AQI’s heavy-handed treatment of Sunni communities in

northern and western Iraq in 2006 and afterward. In the course of the Awakening, local tribal

militias that had been willing to cooperate with, or at least tolerate, AQI before 2006, increasingly

joined forces with U.S. troops against AQI from the fall of 2006 onward. By mid-2008, almost

100,000 Sunni tribal fighters had mobilized into auxiliary groups that operated with U.S. troops—

and sometimes with Iraqi security forces—and began to drive AQI leaders and terrorist cells out

of territory in which they had operated comfortably since 2003-2004. Cities such as Fallujah,

Ramadi, Baiji, Mosul, and Tel Afar that had been key AQI operating bases before 2007 suddenly

became hostile territory for AQI in 2007-2008. Even some Iraqi Sunni militant commanders that

had served as senior AQI leaders turned on the terrorist group to join the Awakening during this

period, especially by turning against foreign fighters and non-Iraqi leaders within AQI. Faced with

this significant threat, AQI’s remaining networks increasingly fell back on their Syria-based

logistical lines, forced to displace further away from Baghdad and central Iraq as the months

passed. Without the Syrian regime’s policy of allowing AQI and other STGIs to use Syrian


59
         “Bashar al-Assad’s exploitation of al-Qaeda members and bringing them into Iraq,” Al Sater al Awsat, MBC
Television, 18 March 2022 (https://www.youtube.com/watch?v=-KOSaJIpZbU&ab_channel=%D8%A7%D9%84
%D8%B3%D8%B7%D8%B1%D8%A7%D9%84%D8%A3%D9%88%D8%B3%D8%B7).



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territory as a safe haven and logistics base, it is unlikely AQI would have been able to survive the

threat the Awakening posed to the terrorist group in 2007-2008.60

        In addition to placing significant strain on AQI’s ability to sustain its terrorist operations

in Iraq, the expansion of the Awakening by the summer of 2007 meant that a higher percentage of

the Sunni terrorist attacks that took place in Iraq were carried out by AQI. In addition, those Sunni

militant groups that did not join the Awakening became more dependent on and directed by AQI.

Already the dominant faction within the Sunni insurgency in Iraq before 2007, AQI became even

more dominant among the Sunni terrorist groups that remained active after the advent of the

Awakening.

        E.       The Syrian Regime’s Proxy Recruitment of Terrorists: The Case of Terrorist
                 Recruiter Abu al-Qaqa

        Beyond its support for AQI, the Assad regime drew upon some of its own terrorist proxies

to support terrorist operations in Iraq. The most prominent example among Syrian regime-

supported terrorist facilitators was a Syrian Kurdish cleric named Mahmoud Qul Aghasi, more

commonly known as Abu al-Qaqa, who preached at a mosque in a poor neighborhood of Aleppo.

From 2000 to 2005, he preached fiery sermons and recruited thousands of Syrians to join the jihad,

first in Afghanistan and then in Iraq. From 2003 to 2005, he recruited, oversaw training courses,

and facilitated the movement of thousands of terrorist fighters into Iraq.

        Numerous former Syrian officials and former jihadis have publicly stated that Abu al-Qaqa

was sponsored by Syrian regime intelligence. Former Syrian General Zaher al-Saket told Qatari

state-owned news outlet Al Jazeera that when he began to investigate Abu al-Qaqa’s militant


60
         See Rayburn and Sobchak, eds., The U.S. Army in the Iraq War, Volume 2 (Carlisle: Arny War College Press,
2019), Chapter 4, “The Awakening Gathers Momentum.” This chapter describes in detail the course of events by
which Iraqi Sunni tribal militias turned against AQI and eviscerated the terrorist group in key operating areas in
western and central Iraq. See also Chapter 6, “The Darkness Has Become Pitch Black,” which describes how AQI and
Al Qaeda central leaders understood the Awakening to pose an existential threat to their jihad in Iraq.



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activities, a fellow general officer in Syrian Air Force Intelligence, Hassan Sharif, revealed to him

that Abu al-Qaqa was working with Syrian intelligence.61 Similarly, former Syrian General

Ibrahim al-Bitar said that Abu al-Qaqa had a direct relationship with General Hassan Khalil, who

preceded Assef Shawkat as head of Syrian Military Intelligence from 2001 to 2005, and with

General Muhammad Dib Zaytoun, who served as deputy head of General Ali Mamluk’s General

Intelligence Directorate (GID) at the time.62 Zaytoun later served as head of GID from 2012 to

2019 and was one of Bashar al-Assad’s closest security advisors through almost the entire first

decade of the Syrian civil war. Hassan Khalil, meanwhile, was implicated in a UN investigation

report on the assassination of former Lebanese Prime Minister Rafiq Hariri in 2005. In other words,

as Syria’s foremost terrorist recruiter, Abu al-Qaqa was dealing directly with some of Bashar al-

Assad’s top intelligence chiefs.

        Former Syrian diplomat Bassam Barabandi, who defected from the Assad regime shortly

after the 2011 revolution began, also said publicly that Abu al-Qaqa operated under the auspices

of senior officials and noted that Abu al-Qaqa could not have operated as he did in a police state

like Syria without approval from the highest levels of the regime.63 One foreign fighter in Iraq also

publicly attested to Abu al-Qaqa’s relationship with the regime, though he did so after Abu al-

Qaqa’s death. Mohammed Abdullah al-Shammari, a Saudi militant, gave a recorded confession to

Iraqi authorities in August 2009 in which he admitted to being an AQI operative who had carried


61
      “Abu al-Qaqaa al-Suri...a remarkable appearance and a sudden disappearance,” Al Jazeera Television, 26
November 2015 (https://www.youtube.com/watch?v=hZv5n7mTNdM&ab_channel=AlJazeeraArabic%D9%82%
D9%86%D8%A7%D8%A9%D8%A7%D9%84%D8%AC%D8%B2%D9%8A%D8%B1%D8%A9).
62
      “Abu al-Qaqaa al-Suri...a remarkable appearance and a sudden disappearance,” Al Jazeera Television, 26
November 2015 (https://www.youtube.com/watch?v=hZv5n7mTNdM&ab_channel=AlJazeeraArabic%D9%82%
D9%86%D8%A7%D8%A9%D8%A7%D9%84%D8%AC%D8%B2%D9%8A%D8%B1%D8%A9).
63
          Roy Gutman, “Assad Henchman: Here’s How We Built ISIS,” The Daily Beast, 1 December 2016
(https://www.thedailybeast.com/assad-henchman-heres-how-we-built-isis).



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out terrorist attacks inside Iraq. Shammari said that he had first joined the Iraq jihad by traveling

to Syria, where he was received by terrorist facilitators who took him to a training camp in Latakia

overseen by Abu al-Qaqa, whom Shammari referred to as a “Syrian intelligence officer.”

Shammari said uniformed Syrian intelligence officials had visited the camp while the training took

place, and that foreign fighters from numerous countries around the region had been trained

together at the camp before proceeding to Iraq.64

        In fact, Iraqi Sunni militants issued statements publicly denouncing Abu al-Qaqa as a

Syrian regime agent in 2004-2005, after which Abu al-Qaqa’s terrorist recruiting and training

ended. By 2005, he had left Aleppo and moved to the Sayida Zeinab shrine neighborhood of

Damascus, a Shi’a-majority area known as a base of operations for Lebanese Hezbollah and the

IRGC-Qods Force. He returned to Aleppo in 2006, but met an untimely end in September 2007

when he was shot to death by two unknown gunmen while leaving his mosque in Aleppo.65

V.      OPINIONS OF SPECIFIC ATTACKS IN PAUTSCH V. THE ISLAMIC REPUBLIC
        OF IRAN AND THE SYRIAN ARAB REPUBLIC

        A.       THOMAS VRIENS ATTACK, FALLUJAH, IRAQ, 24 SEPTEMBER 2004

        Thomas Vriens was injured in an improvised explosive attack (IED) attack on his convoy

near Fallujah, Iraq, at 16:54 hours on 24 September 2004. To a reasonable degree of professional

confidence, my opinion is that this attack was conducted by the terrorist forces that became known

as Al Qaeda in Iraq, or by an STGI closely associated with AQI.

        A 27 September 2004 casualty report by Vriens’s unit indicates that Vriens suffered his

injuries, which included a back injury and temporary hearing loss, from an explosion while



64
          “Iraq: Broadcasting Saudi confessions of carrying out armed operations,” BBC Arabic, 30 August 2009
(https://www.bbc.com/arabic/middleeast/2009/08/090830_om_iraq_saudi_tc2).
65
        Author interview with a former resident of Aleppo, 28 August 2023.



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conducting combat operations in the Fallujah area. At that time, Vriens was a Marine in the

Headquarters and Service Company of Regimental Combat Team-7, a Marine unit that was

deployed to the Fallujah area to take part in counterinsurgency operations leading up to the

November-December 2004 Operation PHANTOM FURY. PHANTOM FURY was the U.S.-led

Coalition operation to retake Fallujah and its surrounding area from the terrorist forces then known

as “Jamaat Tawhid wa al-Jihad,” led by Abu Musab al-Zarqawi. Within weeks of the 24 September

2004 attack in which Vriens was injured, Zarqawi announced that his organization had pledged

allegiance to Al Qaeda and renamed itself “Al Qaeda in Iraq.” Zarqawi served as the leader of AQI

until his death in a Coalition raid in June 2006.

       In my professional opinion, Zarqawi’s forces were highly likely to have been the

perpetrators of the 24 September 2004 IED attack on Thomas Vriens’s convoy near Fallujah. At

the time of the attack, Zarqawi’s forces were the overwhelmingly dominant insurgent group

operating in the Fallujah area. Moreover, all the insurgent groups in that area at that time were

either part of Zarqawi’s organization or were operating in close coordination with it. Furthermore,

IED attacks against U.S. military convoys were the preferred tactic of Zarqawi’s forces at that

time, which makes the character of the 24 September 2004 fully consistent with Zarqawi’s forces’

pattern of operations. Finally, there were virtually no Shi’a terrorist forces operating in or near

Fallujah at that time, which makes it highly unlikely that a force not associated with Zarqawi and

AQI conducted the 24 September attack.

       B.      BRIAN NEUMAN ATTACK, FALLUJAH, IRAQ, 11 NOVEMBER 2004

       Brian Neuman was injured in an IED attack near Fallujah on 11 November 2004. To a

reasonable degree of professional confidence, my opinion is that AQI or an STGI closely

associated with AQI conducted the attack.




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       Neuman was in a dismounted patrol taking part in combat operations in the Fallujah area

when he and his patrol were struck by an IED explosion, following which Neuman and several

other members of the patrol were medically evacuated to Camp Fallujah for treatment.

       At the time of the attack, Neuman’s unit, Task Force LAR of the Marine Expeditionary

Force, was taking part in Operation PHANTOM FURY, the Coalition operation whose objective

was to retake Fallujah and the surrounding area from Abu Musab al-Zarqawi’s terrorist

organization Jamaat Tawhid wa al-Jihad, which renamed itself Al Qaeda in Iraq in November

while the operation was still ongoing.

       The attack against Neuman’s patrol took place on the main road leading southwest from

Fallujah at 33.3046937°, 043.7174603°. The location of the IED attack was approximately three

hundred meters from the Dar Hajji Sirhan mosque.

       In my professional opinion, the attack against Neuman’s patrol was highly likely to have

been conducted by AQI or an associated STGI. The attackers utilized an IED against a U.S. Marine

patrol, which was the preferred AQI tactic in Fallujah at that time. AQI was in control of virtually

all the insurgent groups operating in Fallujah at that time, which makes it highly unlikely that a

group not associated with AQI conducted the attack. Finally, throughout the operations in Fallujah,

AQI and its associated groups used Fallujah’s mosques as bases for their attacks and operations,

making it highly likely that the perpetrators, or at least observers, of the attack against Neuman’s

patrol utilized the Dar Hajji Sirhan mosque for that purpose.

       C.      WALLACE BYARS, DENNIS O’MALLEY, AND RICHARD VESSELL
               ATTACK, BAGHDAD, IRAQ, 9 MARCH 2005

       At 0635 hours on 9 March 2005, Wallace Byars, Dennis O’Malley, and Richard Vessell

were injured in a suicide vehicle-borne improvised explosive device (SVBIED) attack in Baghdad,

Iraq. The SVBIED attack targeted the Iraqi Ministry of Agriculture and the adjacent al-Sadeer



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Hotel. The al-Sadeer Hotel housed the U.S.-led Coalition-sponsored DYNCORPS contractors who

supported the operations of the Ministry of Agriculture. Byars, O’Malley, and Vessell were among

the DYNCORPS contractors wounded in the 9 March 2005 attack.

        To a reasonable degree of professional confidence, my opinion is that the SVBIED attack

that wounded Byars, O’Malley, and Vessell was conducted by AQI. Not only did the attack bear

hallmarks of AQI’s tactics at that time, but AQI also issued multiple statements on 9 March 2005

claiming responsibility for the attack. The 9 March 2005 SVBIED attack was an early part of

Zarqawi and AQI’s spring 2005 car bomb offensive against the newly elected transitional

government of Iraq.66

        The 9 March attack was conducted by AQI terrorists dressed in Iraqi police uniforms who

first attacked the Ministry of Agriculture’s entry gate with small arms fire in order to suppress the

Ministry’s gate guards and clear the way for a vehicle bomb. The small arms attack was followed

by two AQI members dressed in Iraqi Police uniforms who drove an explosive-laden garbage truck

through the gate and into a courtyard shared by the ministry and the al-Sadeer Hotel. The vehicle

bomb exploded, causing dozens of casualties and severe damage to the ministry and the hotel.

Later in the day, AQI’s military wing and its official spokesman both issued statements saying the

attack had been conducted by AQI under the instructions of AQI leader Abu Musab al-Zarqawi.

In addition, later in March 2005, AQI released a video showing the attack on the Ministry and

hotel and reiterating that the attack had been conducted by AQI operatives.




66
        Joel Rayburn and Frank Sobchak, eds., The U.S. Army in the Iraq War, Volume 1 (Carlisle: Army War
College Press, 2019), pp. 412-414.



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       D.      WALLACE BYARS AND DENNIS O’MALLEY ATTACK, BAGHDAD,
               IRAQ, 25 JULY 2005

       Wallace Byars and Dennis O’Malley were injured in a second attack that also targeted the

al-Sadeer hotel in the early hours of 25 July 2005. To a reasonable degree of professional

confidence, my opinion is that this attack was also conducted by AQI.

       The 25 July attack was conducted by a suicide bomber driving a minivan who detonated

his car bomb at the checkpoint leading into the al-Sadeer hotel compound. The explosion severely

damaged the hotel and caused dozens of casualties, among whom were Byars and O’Malley. The

SVBIED attack was typical of AQI’s car bomb tactics and took place during the course of AQI’s

car bomb offensive against the new Iraqi transitional government. In addition, AQI issued a

statement later in the day on 25 July claiming responsibility for the attack. In my professional

opinion, the likelihood that AQI did not conduct the attack is virtually zero.

       E.      JASON GOLDSMITH ATTACK, KHUTAYLAH, IRAQ, 9 MAY 2005

       Jason Goldsmith was wounded during a complex attack on his military convoy near

Khutaylah, Iraq at 23:40 hours on 9 May 2005. To a reasonable degree of professional confidence,

my opinion is that the attack was conducted by AQI or an STGI associated with AQI.

       At the time of the attack, Goldsmith was a U.S. Marine in the 2nd Battalion, 3rd Marines,

a unit that was operating in the Khutaylah and Al Qaim areas as part of the Coalition Operation

MATADOR in May 2005, a military offensive against insurgent positions in Iraq’s Anbar

Province, which ran from 8 May 2005 to 19 May 2005. Goldsmith was a passenger in an M1114

HMMWV which sustained damage in the 9 May 2005 attack.

       Goldsmith’s unit was traveling in a convoy near Khutaylah when it was ambushed by

terrorists who used small arms fire, rocket-propelled grenades, and prepositioned IEDs against the

convoy. After the convoy came under attack by these weapons, two SVBIEDs attacked the convoy,



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indicating that the attack was a preplanned complex ambush. The location of the attack was

34.3736377°, 041.0554929°, on a major road leading to the Syria-Iraq border crossing less than

10 kilometers away.

       The area of western Anbar Province in which the attack took place was dominated by AQI

at that time. AQI controlled or dominated all militant groups in that area at that time, and AQI in

early May 2005 was fighting to expand its control of the local area and to counter the Coalition’s

Operation MATADOR. The attack in which Goldsmith was wounded was highly likely to have

been part of AQI’s operations against the Coalition units executing Operation MATADOR. The

use of a SVBIED, or multiple SVBIEDs, as part of a complex attack was also a TTP typical of

AQI. In my professional opinion, the likelihood that the attack could have been conducted by a

non-AQI-associated terrorist group is virtually zero.

       F.      CHARLES SHAFFER ATTACK, MOSUL, IRAQ, 1 SEPTEMBER 2008

       Charles Shaffer was wounded in a rocket-propelled grenade attack against his vehicle in

Mosul on 1 September 2008. To a reasonable degree of professional confidence, my opinion is

that AQI conducted this attack.

       The location of the attack points to AQI responsibility. The attack took place near a major

intersection in an eastern Mosul city on the main highway connecting Mosul to Erbil (Highway

2), at location 36.3502283°, 043.1857628°. AQI was the overwhelmingly dominant terrorist group

operating in Mosul at that time. As a consequence of Coalition operations in central and western

Iraq during 2007-2008, AQI was forced to relocate its command and control networks and many

of its fighters to the Mosul area by early 2008.67 I personally traveled to Mosul and the surrounding




67
       See The U.S. Army in the Iraq War, Volume 2, pp. 392-393.



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areas multiple times during 2008 and was aware of the extent of AQI’s operations, influence, and

consolidated control over insurgent operations in Mosul at that time.

       In my professional opinion, the likelihood that a non-AQI-associated terrorist group could

have conducted the 1 September 2008 attack is virtually zero. Virtually all other Sunni insurgent

groups in the Mosul area had either joined the Awakening movement and become allies of the

Coalition or had been subsumed into AQI itself by that time.

       The use of rocket-propelled grenades was also a hallmark of AQI’s tactics at the time,

indicating AQI’s responsibility for the attack. During the 2008-2009 period, as Coalition forces

fielded mine-resistant ambush-protected (MRAP) armored vehicles, AQI terrorists found it more

difficult to use IEDs effectively against Coalition units and therefore began using Russian-made

RKG-3 armor-piercing grenades as a common tactic.68 It is highly likely that the grenades that

struck Shaffer’s vehicle on 1 September 2008 were RKG-3s or similar grenades.

       Finally, during the summer and fall of 2008, AQI was fighting hard to consolidate control

of Mosul and to counterattack against the U.S.-Iraqi combined Operation DEFEAT AL QAEDA

IN THE NORTH (OPDAN). The complex attack against Shaffer’s convoy on 1 September was

most likely part of AQI’s counterattacks against OPDAN.

       G.      JAMES DAVIS ATTACK, TAJI, IRAQ, 13 AUGUST 2007

       James Davis suffered trauma and other physical symptoms from an IED attack against his

unit near Taji, Iraq, on 13 August 2007. To a reasonable degree of professional confidence, my

opinion is that the IED attack was likely conducted by AQI or an STGI closely associated with

AQI.




68
       See The U.S. Army in the Iraq War, Volume 2, pp. 468-469.



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       Davis was part of the 454th Transportation Company, an element of which was convoying

on Main Supply Route Tampa, also known as Iraqi highway 1, between Dujail and Tarmiyah north

of Taji on 13 August 2007. The convoy was struck by a buried IED as it passed the location

33.8069611°, 044.2624884°. Based on contemporaneous military reports of the incident, the IED

was not an explosively formed penetrator (EFP), but rather a deep-buried conventional explosive

IED. An EFP would have done significantly greater damage than the IED that struck Davis’s

convoy on 13 August 2007. The use of a conventional IED indicates that the bomb was emplaced

by Sunni terrorists rather than a Shi’a terrorist group, since Shi’a terrorist groups by 2007

employed EFPs as their preferred IED tactic. In addition, U.S. troops by August 2007 were highly

knowledgeable about EFP incidents and would have had no difficulty identifying an EFP had the

attack involved one.

       The proximity of the attack to Tarmiyah also indicates that AQI or an AQI-associated

group was responsible for the attack. I personally traveled to the Taji-Tarmiyah area multiple times

in 2007-2008 and learned firsthand of the extent of AQI’s consolidation of control over Sunni

terrorist groups and operations by that time. I learned that Tarmiyah was a significant AQI

operating hub at that point in 2007. Furthermore, by August 2007 non-AQI terrorist groups in the

Taji-Tarmiyah-Dujail area had either joined the Awakening movement allied with Coalition forces

or had been subsumed into AQI itself, making it highly unlikely that a non-AQI Sunni terrorist

group would have conducted the attack.

       In my professional opinion, these factors indicate to me that it is highly unlikely a non-

AQI-associated Sunni terrorist group conducted the attack of 13 August 2007.

       H.      JASON PAUTSCH ATTACK, MOSUL, IRAQ, 10 APRIL 2009

       Jason Pautsch was killed in an SVBIED attack in Mosul on 10 April 2009. To a reasonable

degree of professional confidence, my opinion is that the attack was conducted by AQI.


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       Pautsch was part of a mounted patrol by the 1st Combined Arms Battalion, 67th Armored

Regiment of the U.S. Army. He and his unit were stationed in Mosul at the combined U.S.-Iraq

base known as Forward Operating Base (FOB) Marez. On 10 April 2009, he and his unit were

conducting their patrol near FOB Marez when they encountered an explosive-laden dump truck

driven by a terrorist operative whose intention was apparently to ram the perimeter of the base and

penetrate the compound to explode his payload. Pautsch was part of the crew of a U.S. MRAP

vehicle that was catastrophically damaged when the SVBIED detonated outside the perimeter

barrier of FOB Marez.

       The suicide bomber driving the SVBIED was a Tunisian jihadist who had been recruited

by an AQI facilitation network based in Syria and Iraq, with key logistical and planning activities

conducted by an Iraqi-born Canadian citizen named Faruq Khalil Muhammad Isa. Isa was later

convicted of planning the 10 April 2009 attack by a U.S. federal court (the District Court for the

Eastern District of New York) and sentenced in 2019 to 26 years in prison for this act. The key

facts of the case, which U.S. prosecutors established by wiretaps and other evidence, are that Isa

conspired to bring Tunisian terrorists to Iraq for the purpose of becoming suicide bombers in

attacks against American troops. The 10 April 2009 attack was the second such attack that Isa

facilitated, with the first having been an SVBIED attack against Iraqi Security Forces and civilians

in Mosul on 31 March 2009.

       Isa was part of an AQI terrorist facilitation network that had ramped up its campaign of

suicide attacks in Iraq in early 2009 in the aftermath of a U.S. military operation that killed AQI’s

most prominent Syria-based terrorist facilitator, the Mosul-born Abu Ghadiyah, in Albu Kamal,




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Syria, in October 2008.69 Isa was one of AQI’s key facilitators who planned to reestablish their

suicide attack facilitation network in Mosul in particular. I personally visited the Mosul area later

in fall 2009 and learned firsthand from Iraqi and U.S. military units the extent of AQI’s efforts to

reestablish its terrorist operations and facilitation networks in Ninewa Province. The 10 April 2009

attack was indicative of these AQI efforts.

        Beyond the extensive evidence cited in Isa’s prosecution, the characteristics of the 10 April

2009 attack closely match AQI’s established tactics in Iraq, and in Mosul in particular, at the time.

The AQI SVBIED used in the attack was a dump truck containing as much as 10,000 lbs. of

explosive material, typical of AQI SVBIED attacks in 2008-2009. A U.S. Army 15-6 investigation

report concerning the 10 April attack established that Pautsch and the four other members of his

MRAP crew were killed instantaneously by the SVBIED blast, which occurred in close proximity

to their vehicle.

VI.     CONCLUSIONS

        For each of the eight attacks at issue, I examined the location where the attack took place,

the time of the attack, the weapons system used, the complexity of the attack, which terrorist group

had primacy in the relevant geographic location within Iraq during that time, the presence of

reliable claims of responsibility, and investigative materials by government agencies. Based on the

totality of evidence, I conclude, with a reasonable degree of professional confidence, that each

attack was committed by AQI and/or affiliated STGI that received contemporaneous material

support from both Iran and Syria. I further conclude, with a reasonable degree of professional

confidence, that the support provided by Iran and Syria was substantial and foreseeably contributed



69
        Brian Fishman, The Master Plan: ISIS, Al Qaeda, and the Jihadi Strategy for Final Victory (New Haven:
Yale University Press, 2016), p. 136.



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to the attacks at issue, and that as a matter of policy at the highest levels of the Iranian and Syria

governments, the attacks at issue were a desired tactical objective of their support to AQI and the

STGIs.




Dated: 19 September 2023




                                                      Colonel (Ret.) Joel Rayburn




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                 EXHIBIT A
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                                 Joel D. Rayburn
              Founder and Director, American Center for Levant Studies
                        Visiting Fellow, Hoover Institution
                    Research Fellow, New America Foundation
              Former Special Envoy for Syria, U.S. Department of State
                           Colonel (Retired), U.S. Army

Joel Rayburn is a national security professional with more than three decades of experience in the
U.S. military, intelligence community, White House, State Department, and Congress. He is also
a board member for private sector technology companies as well as a director and board member
of multiple non-profits focused on international affairs and international law. His career includes
roles as U.S. Special Envoy for Syria, special advisor to Senator Bill Hagerty (R-TN), Senior
Director at the National Security Council, and author and general editor of the U.S. Army’s official
history of the Iraq War.

Rayburn is currently the founder and director of the American Center for Levant Studies, a non-
profit research organization that focuses on Middle East affairs. He is also a research scholar at
the Hoover Institution and the New America Foundation.

Previously, from January to July 2021, Rayburn served as Special Advisor for Middle East Affairs
in the office of Senator Bill Hagerty (R-TN), assisting Senator Hagerty in foreign relations and
national security affairs.

From July 2018 to January 2021, Rayburn was the U.S. Special Envoy for Syria, a post in which
he oversaw U.S. diplomatic activities concerning Syria, supervised more than 100 staff across the
Middle East and Europe, and was U.S. chief of mission for Syria. Until November 2020, Rayburn
was also Deputy Assistant Secretary of State for Levant Affairs.

Before joining the State Department, Rayburn served 26 years as a U.S. Army officer, finishing
his military career as senior director for Iran, Iraq, Syria, and Lebanon on the National Security
Council staff in 2017-2018. Commissioned from West Point in 1992, Rayburn held assignments
in Europe, the Middle East, South Asia, and the United States, including multiple combat
deployments. From 1993-1996 he served in the 1st Armored Division, from which he deployed to
Kuwait and Bosnia-Herzegovina. In 1999-2000 he was a Balkans intelligence analyst at the
EUCOM Joint Analysis Center at RAF Molesworth. Rayburn then taught history at West Point
from 2002-2005, focusing on Middle Eastern and British history.

Rayburn served as a strategic intelligence advisor to General John Abizaid at U.S. Central
Command from 2005 to 2007. During this assignment his duties included a special focus on Iran,
Iraq, Syria, and Lebanon. In this role he also deployed to Ninewa Province and Salahadin Province
in northern Iraq in January-February 2006.

In 2007, he served on the Joint Strategic Assessment Team assembled by General David Petraeus
and Ambassador Ryan Crocker in Baghdad. The team was tasked to formulate a whole-of-
government and multinational campaign plan as part of the “Surge” campaign initiated by



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President George W. Bush. Rayburn remained in Iraq for most of the period from March 2007 to
September 2008, during which time he was tasked to conduct operational assessments across Iraq
and traveled to fourteen of the country’s eighteen provinces.

From September 2008 to 2011, Rayburn was a strategic intelligence advisor to CENTCOM
Command General David Petraeus and deployed to Iraq, Afghanistan, and the Persian Gulf region.
His duties again included a special focus on Iran, Iraq, Syria, and Lebanon, and in particular on
the activities and plans of the IRGC-Qods Force, Lebanese Hezbollah, and the Assad regime, as
well as on the major Sunni terrorist groups active in the northern Middle East.

From 2011 to 2012, Rayburn was a senior military fellow at the Institute of National Strategic
Studies at National Defense University. From 2013 to 2016, Rayburn directed the Army’s
Operation Iraqi Freedom Study Group, where he led the writing of a history of the Iraq war and
assembled operational lessons to be drawn from the conflict. In 2018, the group’s work was
published in the two-volume study The U.S. Army in the Iraq War, for which Rayburn was co-
author and editor.

In the private sector, Rayburn serves on the board of aiNTEL, a technology company that uses
artificial intelligence to support large data operations. In the non-profit sector, Rayburn serves on
the advisory board of the Commission for International Justice and Accountability, an organization
that compiles evidence of war crimes and crimes against humanity to support transitional justice
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Selected Publications:

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